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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                           Chapter 11

    Genesis Global Holdco, LLC, et al., 1                            Case No.: 23-10063 (SHL)

                                         Debtors.                    Jointly Administered



                     ORDER (I) ESTABLISHING BAR DATES FOR
             SUBMITTING PROOFS OF CLAIM, (II) APPROVING PROOF OF
        CLAIM FORM, BAR DATE NOTICES, AND MAILING AND PUBLICATION
      PROCEDURES, (III) IMPLEMENTING UNIFORM PROCEDURES REGARDING
      503(b)(9) CLAIMS, AND (IV) PROVIDING CERTAIN SUPPLEMENTAL RELIEF

                      Upon the application (the “Application”) 2 of Genesis Global Holdco, LLC

(“Holdco”) and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively, the “Debtors”), for entry of an order (this “Order”) (i) establishing the general bar

date by which certain creditors must file Proofs of Claim in these chapter 11 cases (the “General

Bar Date”); (ii) establishing the bar date by which a Proof of Claim relating to the Debtors’

rejection of executory contracts and unexpired leases must be filed (the “Rejection Bar Date”);

(iii) establishing the bar date by which a Proof of Claim arising from an amendment to the Debtors’

Schedules (as defined below) must be filed (or, if previously filed, be amended) (the “Amended

Schedule Bar Date” and collectively, with the General Bar Date and the Rejection Bar Date, the

“Bar Dates”); 3 (iv) approving tailored Claim Forms to be distributed to potential creditors; (v)



1
                  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax
identification number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is 250 Park Avenue South, 5th Floor, New York, NY 10003.
2
             All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Application.
3
         For purposes of this Application, the Bar Dates herein shall not extend to requests for payment of postpetition
fees and expenses of professionals retained or sought to be retained by order of the Court in these cases.
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approving the forms of notice to be used to inform potential creditors of the Bar Dates; (vi)

approving mailing and publication procedures with respect to notice of the Bar Dates; and (vii)

providing certain supplemental relief; and upon the Declaration of A. Derar Islim in Support of

First Day Motions and Applications in Compliance with Local Rule 1007-2 (the “Islim

Declaration”) filed January 20, 2023 (ECF No. 17), the Declaration of Paul Aronzon in Support

of First Day Motions and Applications in Compliance with Local Rule 1007-2 (the “Aronzon

Declaration”) filed January 20, 2023 (ECF No. 19), and the Declaration of Michael Leto in Support

of First Day Motions and Applications in Compliance with Local Rule 1007-2 (the “Leto

Declaration,” and along with the Islim Declaration and the Aronzon Declaration, the “First Day

Declarations”); and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the Southern District of New York dated January 31, 2012 (Preska, C.J.); and the Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter

a final order consistent with Article III of the United States Constitution; and the Court having

found that venue of this proceeding and the Application in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the Application

is in the best interests of the Debtors, their estates, their creditors and other parties in interest; and

the Court having found that the Debtors’ notice of the Application and opportunity for a hearing

on the Application was appropriate and no other notice need be provided; and the Court having

reviewed the Application and having heard the statements in support of the relief requested therein

at a hearing before the Court (the “Hearing”); and the Court having determined that the legal and

factual bases set forth in the Application and on the record of the Hearing establish just cause for

the relief granted herein; and all objections to the Application (if any) having been withdrawn or




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overruled; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.       The Application is GRANTED to the extent set forth herein.

               2.       Bar Dates.     The Bar Dates set forth in the Application are hereby

APPROVED.

               3.       Notices and Forms. The forms of the Bar Date Notice, the Notice of

Amended Schedules, the Publication Notice, Claim Forms, and the Gemini Bar Date Notice,

substantially in the form of each attached to the Application, and the manner of providing notice

of the Bar Dates proposed in the Application, are APPROVED. The form and manner of notice

of the Bar Dates approved hereby are deemed to fulfill the notice requirements of the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules and the Local Rules.

               4.       Procedures. The following procedures for the submission of Proofs of

Claim shall apply:

               (a)      The General Bar Date by which proofs of claim against the
                        Debtors must be filed is May 22, 2023 at 4:00 p.m., Eastern
                        Time.

               (b)      The Rejection Bar Date by which all entities that hold a Prepetition
                        Claim against any of the Debtors arising out of the rejection of
                        executory contracts and unexpired leases pursuant to section 365 of
                        the Bankruptcy Code that becomes effective after the entry of the
                        Bar Date Order shall file a Proof of Claim by the later of (i) the
                        General Bar Date, and (ii) any date the Court may fix in the
                        applicable order authorizing such rejection.

               (c)      The Amended Schedule Bar Date for creditors holding claims which
                        have been amended by the Debtors in their Schedules or added by
                        the Debtors to the Schedules as the later of (a) General Bar Date and
                        (b) thirty-five (35) days after the date that notice of the amendment
                        is served on the affected claimant, which date shall be set forth in
                        such notice of amendment.



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                  (d)      The Governmental Bar Date by which a governmental unit, as
                           defined in section 101(27) of the Bankruptcy Code, must file
                           Prepetition Claims against the Debtors is July 18, 2023 at 4:00
                           p.m., Eastern Time.

                  (e)      Each Proof of Claim must: (i) be written in English; (ii) set forth (A)
                           for any Prepetition Claim based on cryptocurrency, the number and
                           type of units of each cryptocurrency held by the claimant as of the
                           Petition Date and (B) solely to the extent a Prepetition Claim is not
                           based on cryptocurrency, the amount of such Prepetition Claim
                           denominated in United States dollars; 4 (iii) conform substantially
                           with the Claim Forms provided by the Debtors or Official Form No.
                           410, as applicable; (iv) be signed by the claimant or by an authorized
                           agent or legal representative of the claimant; and (v) include
                           supporting documentation unless otherwise consented to by the
                           Debtors in writing (e-mail will suffice); provided that, upon the
                           request of the Debtors or any statutorily appointed committee, any
                           claimant that receives such written consent shall be required to
                           transmit promptly such supporting documentation to the Debtors
                           and any statutorily appointed committee as soon as reasonably
                           practicable, but in no event later than ten (10) business days from
                           the date of such request.

                  (f) In addition to the requirements set forth in (e) above, any Proof of Claim
                           asserting a 503(b)(9) Claim must also include, with specificity: (i)
                           the amount of the 503(b)(9) Claim; (ii) the particular Debtor against
                           which the 503(b)(9) Claim is asserted; (iii) the date of delivery of
                           the goods purportedly delivered to a Debtor within twenty days
                           before the Petition Date; (iv) documentation, including invoices,
                           receipts, bills of lading and the like, identifying with specificity the
                           particular goods for which the 503(b)(9) Claim is being asserted; (v)
                           an identification of which goods (if any) were subject to a demand
                           for reclamation asserted under section 546(c) of the Bankruptcy
                           Code; and (vi) documentation or other evidence that the goods with
                           respect to which the 503(b)(9) Claim is being filed were sold in the
                           ordinary course of the Debtor’s business.

                  (g)      Each Proof of Claim, including supporting documentation, must be
                           submitted so that Kroll actually receives the Proof of Claim on or
                           before the applicable Bar Date by submitting the Proof of Claim (i)
                           electronically       through      the     Case       Website         at
                           https://restructuring.ra.kroll.com/genesis in accordance with the
                           instructions for filing Proofs of Claim electronically or (ii) by first

4
                  For the avoidance of doubt, all Proofs of Claim for Prepetition Claims based on cryptocurrency
must clearly indicate (i) each type of cryptocurrency held and (ii) the number of units of each cryptocurrency held
(which may be done through the table of cryptocurrency on the proposed Claim Form).



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                        class U.S. mail, overnight mail, or other hand delivery system,
                        which Proof of Claim must include an original signature, at the
                        following address: Genesis Inc. Claims Processing Center c/o Prime
                        Clerk LLC (now known as Kroll Restructuring Administration), 850
                        3rd Avenue, Suite 412, Brooklyn, NY 11232.

               (h)      Proofs of Claim must be submitted by mail, hand, or through the
                        Case Website. Proofs of Claims submitted by electronic means
                        other than the Case Website (e.g., via e-mail, facsimile, telecopy, or
                        similar electronic means) will not be accepted and will not be
                        deemed timely submitted.

               (i) A proof of claim shall be timely filed only if the original Claim Form is
                       actually submitted to the Case Website or is actually received by the
                       Claims Docketing Center on or before the applicable Bar Date.

               (j) Parties who wish to receive proof of receipt of their Proofs of Claim must
                        also include with their Proof of Claim a copy of their Proof of Claim
                        and a self-addressed, stamped envelope.

               (k)      Upon the advance express written consent of the Debtors, a proof of
                        claim filed for a Prepetition Claim or a 503(b)(9) Claim may be filed
                        without the writings upon which the Prepetition Claim or 503(b)(9)
                        Claim, as applicable, is based, as required by Bankruptcy Rules
                        3001(c) and (d) and this Order; provided, however, that, upon
                        request of the Debtors, any statutorily appointed committee, or any
                        other party in interest in these cases, any creditor that receives such
                        written consent shall be required to transmit promptly such writings
                        to the Debtors, any statutorily appointed committee and the party in
                        interest making such request as soon as reasonably practicable, but
                        in no event later than ten business days from the date of such request.

               (l) Each Proof of Claim must specify by name and case number the Debtor
                       against which the Prepetition Claim is submitted by checking the
                       applicable box at the top of the Claim Form. A person or entity
                       asserting Prepetition Claims against more than one Debtor is
                       required to (i) file a separate Proof of Claim with respect to each
                       such Debtor and (ii) identify on each Claim Form the particular
                       Debtor against which their Prepetition Claim is asserted. Any Proof
                       of Claim that fails to identify a Debtor shall be deemed as submitted
                       only against Genesis Global Capital, LLC. If more than one Debtor
                       is listed on the Claim Form, the Proof of Claim will be treated as
                       filed only against the first-listed Debtor.

               5.       The following Entities are not required to file proofs of claim:

               (a)      any Prepetition Claim for which a Proof of Claim has already been


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                          filed against one or more of the Debtors and for which no other
                          basis or additional amounts are sought or Prepetition Claims are
                          asserted beyond those listed in the already filed Proof of Claim;
                 (b)      any Prepetition Claim listed in the Debtors’ Schedules (as defined
                          herein), and is not designated as “disputed,” “contingent,” and/or
                          “unliquidated,” and with respect to which the Entity asserting such
                          Prepetition Claim agrees with the nature, classification, and amount
                          that such Prepetition Claim is identified in the Schedules, and with
                          respect to which the Entity asserting such Prepetition Claim agrees
                          that its Prepetition Claim is an obligation only of the specific Debtor
                          who has listed the Prepetition Claim in its Schedules;

                 (c)      any Prepetition Claim or 503(b)(9) Claim (including any Prepetition
                          Claim listed in the Debtors’ Schedules as set forth in paragraph (b)
                          above) that has been previously allowed by, or paid in full pursuant
                          to, an order of this Court;

                 (d)      any Prepetition Claim by a Debtor against one or more of the other
                          Debtors;

                 (e)      any Prepetition Claim for which specific filing deadlines have been
                          previously fixed by this Court;

                 (f) any current or former equity security holder 5 that seeks to assert only a
                         proof of interest with respect of the ownership of such equity
                         interests; 6

                 (g)      any current employees of the Debtors, if an order of the Court
                          authorized the Debtors to honor such Prepetition Claim in the
                          ordinary course of business as a wage, commission, or benefit; any
                          current or former employee must submit a Proof of Claim by the
                          General Bar Date for all other Prepetition Claims arising before the
                          Petition Date, including Prepetition Claims for wrongful
                          termination, discrimination, harassment, hostile work environment
                          and retaliation;

                 (h)      each and all Gemini Lenders on account of their respective
                          Prepetition Claims against the Debtors for the repayment of the
                          Gemini Borrowings; provided, however, that any Gemini Lender
                          wanting to assert a Prepetition Claim against the Debtors for an
                          amount greater than the Gemini Lender’s Gemini Borrowings in the
                          Gemini Earn Program or a Prepetition Claim other than for the

5
        The term “equity security holder,” as used herein, has the meaning ascribed to it in section 101(17) of the
Bankruptcy Code.
6
        Any equity security holder claiming damages or asserting causes of action based upon or
arising from stock ownership would be required to file a proof of claim by the General Bar Date.


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                         repayment of the Gemini Borrowings under the Gemini Earn
                         Program, shall be required to submit a Proof of Claim with respect
                         to such additional Prepetition Claim on or before the applicable Bar
                         Date, unless another exception identified herein applies;

               (i) each and all members of the Ad Hoc Group (as defined herein) on
                       account of their respective Prepetition Claims against the Debtors;
                       provided, however, that any member of the Ad Hoc Group wanting
                       to assert a Prepetition Claim against the Debtors, other than the
                       amount listed on the schedule of amounts owing pursuant to the
                       underlying agreement and loan term sheets, shall be required to
                       submit a Proof of Claim with respect to such additional Prepetition
                       Claim on or before the applicable Bar Date, unless another
                       exception identified herein applies;

               (j) claims for fees and expenses of professional retained in these
                        proceedings;

               (k)       any claim based on indemnification, contribution or reimbursement
                         of a current officer, director or employee of any of the Debtors;

               (l) any person or Entity holding a Prepetition Claim solely against a non-
                       Debtor entity; and

               (a)       any Prepetition Claim allowable under sections 503(b) and
                         507(a)(2) of the Bankruptcy Code as an expense of an
                         administration incurred in the ordinary course; provided that any
                         person or entity asserting a Prepetition Claim entitled to
                         administrative expense status under section 503(b)(9) of the
                         Bankruptcy Code must assert such Prepetition Claims by filing a
                         request for payment or a Proof of Claim on or prior to the General
                         Bar Date.

               6.        Any person or entity that relies on the Schedules will have the responsibility

of determining that such Prepetition Claim is accurately listed in the Schedules in all respects.

Each Gemini Lender will have the responsibility of determining whether its Gemini Borrowings,

as of the Petition Date, are accurately listed in all respects on their individual account page that

may      be         accessed     through       the       Gemini     Earn      Program’s        website

(https://exchange.gemini.com/signin) and the Gemini mobile app as that is the amount that will be

listed for such Gemini Lender’s Prepetition Claim in the Gemini Master Claim.




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                 7.       Gemini is authorized and directed to file the Gemini Master Claim pursuant

to section 501(a) of the Bankruptcy Code on or before the General Bar Date, against GGC and/or

any other Debtor that Gemini determines may have liability to the Gemini Lenders for the

repayment of the Gemini Borrowings. 7

                 8.       Gemini is granted a waiver of the requirements of Bankruptcy Rule 3001(c)

as to the Gemini Master Claim to the extent that Gemini shall not be required to publicly disclose

underlying Gemini Lender information. The Gemini Master Claim shall not include the names or

any contact information for the Gemini Lenders, and it shall not specify the Gemini Borrowings

of any specific Gemini Lender, subject to further order of the Court.

                 9.       The Ad Hoc Group is authorized and directed to file a single Proof of Claim

pursuant to section 501(a) of the Bankruptcy Code, together with a schedule of amounts asserted

by each such member (with copies of any master loan agreements or loan term sheets to be made

available to the Debtors upon request) on or before the General Bar Date, on account of the

Prepetition Claims against the Debtors held by members of the Ad Hoc Group pursuant to such

master loan agreements or loan term sheets; provided, however, that any member of the Ad Hoc

Group that wants to assert a claim, other than the amount owing pursuant to such master loan

agreements or loan term sheets, shall be required to submit a Proof of Claim with respect to such

additional claim on or before the General Bar Date, unless another exception to the Bar Date

applies.

                 10.      Effect of Failure to File by Applicable Bar Date. Any holder of a Prepetition

Claim that is not excepted from the requirements of this Order and fails to timely submit a Proof



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                  The Gemini Master Claim shall not include any claims asserted by Gemini in its individual capacity.
To the extent that Gemini determines that the Gemini Master Claim should be filed against more than one Debtor, it
will be deemed a separate claim with respect to each Debtor but is referred to herein as a single claim.



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of Claim as required herein shall not be treated as a creditor with respect to such claim for the

purposes of voting and distribution.

               11.     Mailing of Bar Date Notice Packages. The Debtors shall provide actual

notice of the Bar Dates by mailing the Bar Date Notice, substantially in the form attached to the

Application as Exhibit B, and the Claim Forms (collectively, the “Bar Date Notice Package”)

within five (5) business days of the entry of this Order to the following potential parties-in-interest,

wherever located: (i) the Master Service List; (ii) all known creditors or other known holders of

Prepetition Claims or 503(b)(9) Claims against the Debtors, including all persons and entities listed

on the Schedules at the addresses stated therein, (iii) all counterparties to executory contracts and

unexpired leases listed on the Schedules at the addresses stated therein; (iv) all taxing authorities

for the jurisdictions in which the Debtors maintain or conduct business; (v) all regulatory

authorities that regulate the Debtors’ businesses; (vi) the Securities and Exchange Commission;

(vii) all known lienholders; (viii) all known non-Debtor equity and interest holders of the Debtors

as of the date this Order is entered; (ix) all current and former employees (to the extent that contact

information for former employees is available in the Debtors’ records); (x) all known parties to

litigation in which the Debtors are involved as listed on the Schedules; (xi) all of the Debtors’

ordinary course professionals as of the date of entry of the Order; (xii) the Debtors’ banks; (xiii)

all Entities requesting notice pursuant to Bankruptcy Rule 2002 as of the date of entry of this

Order; (xiv) all persons or entities that have filed Proofs of Claim in these Chapter 11 Cases as of

the date of entry of this Order and (xv) all parties included on the creditor matrix filed in these

Chapter 11 cases (collectively, the “Bar Date Notice Parties”). The Debtors will make all

reasonable commercial efforts to locate current contact information for the Bar Date Notice

Parties.




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               12.     The Claim Form attached to the Application as Exhibit A is hereby

approved, including all modifications to the Official Form reflected therein.

               13.     With regard to those holders of Prepetition Claims listed on the Schedules,

the Debtors shall mail one or more Claim Form (as appropriate) substantially similar to the Claim

Forms annexed to the Application as Exhibit A, indicating on such Claim Form how the Debtors

have scheduled such creditor’s Prepetition Claim in the Schedules (including the identity of the

Debtor the Prepetition Claim is scheduled against, the amount and classification of the Prepetition

Claim, and whether the Prepetition Claim has been scheduled as contingent, unliquidated or

disputed).

               14.     With regard to those holders of Prepetition Claims that are Gemini

Lenders, the Debtors are authorized and directed to serve notice of the Bar Dates by serving

notice on Gemini and not the individual Gemini Lenders. Gemini is authorized and directed to

serve the Gemini Bar Date Notice (with the Bar Date Notice attached as an exhibit thereto) on

the Gemini Lenders in the manner described in the Application as soon as practicable after entry

of this Order but in any event no later than twenty-eight (28) days prior to the earliest of the Bar

Dates, except that Gemini is authorized and directed to serve the Gemini Bar Date Notice (with

the Bar Date Notice attached as an exhibit thereto) on the Gemini Lenders a second time through

electronic mail no later than ten (10) days prior to the earliest of the Bar Dates. Gemini shall not

be required or otherwise obligated to serve the Bar Date Notice Package or any other notice of

the Bar Dates, other than the Gemini Bar Date Notice (with the Bar Date Notice attached as an

exhibit thereto), on any Gemini Lender. Gemini is further authorized and directed to serve

Notice of the Amended Schedule Bar Date (as defined herein), if necessary, on the Gemini

Lenders in the same manner of service as the Gemini Bar Date Notice described in the




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Application.

                15.     The Debtors may, in their discretion, but shall not be required to, serve the

Bar Date Notice on certain Entities that are not Bar Date Notice Parties with which, prior to the

Petition Date, the Debtors had done business or that may have asserted a claim against the Debtors

in the recent past.

                16.     Supplemental Mailings of Bar Date Notice Packages. After the initial

service of the Bar Date Notice Packages, the Debtors may, in their discretion, make supplemental

mailings of the Bar Date Notice Packages, including in the event that (i) Bar Date Notice Packages

are returned by the post office with forwarding addresses, necessitating a remailing to the new

addresses, (ii) notices served by e-mail are confirmed to be undeliverable, (iii) certain parties acting

on behalf of parties in interest fail to pass along Bar Date Notice Packages to such parties and

instead return their names and addresses to the Debtors for direct mailing, or (iv) additional

potential claimants become known to the Debtors.             For holders of claims receiving such

supplemental mailings, except for entities that are exempt from complying with the applicable Bar

Dates set forth in this Order, the deadline to file Proofs of Claim, if necessary, shall be the later of

(a) the applicable Bar Date, or (b) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty-

five (35) days from service of the supplemental mailing of the Bar Date Notice Packages (or

another time period as may be fixed by the Court), which deadlines shall be set forth in the

supplemental mailing.

                17.     Actual Notice of Amended Schedule Bar Date. If and when the Debtors

amend their Schedules to reduce the undisputed, noncontingent and liquidated amount, to change

the nature or classification of a Prepetition Claim, or to add a claim to the Schedules, the Debtors

shall provide notice of any such amended or added claim, substantially in the form of Exhibit D to




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the Application (the “Notice of Amended Schedules”), to the affected claimant by serving the

affected claimant with the Notice of Amended Schedules by first class mail and thereafter filing

with the Court a certificate of such service. The date by which creditors holding claims that may

be amended by the Debtors in their Schedules must file a Proof of Claim or amend their previously

filed Proof of Claim (the “Amended Schedule Bar Date”) shall be the later of (i) General Bar Date

and (ii) thirty-five (35) days after the date that notice of the amendment is served on the affected

claimant. The Notice of Amended Schedules shall include information regarding the Amended

Schedule Bar Date and how to file a Proof of Claim or amend an existing Proof of Claim.

               18.     Assistance of Claims Agent. Kroll Restructuring Administration (“Kroll”),

the claims agent appointed in these cases, is authorized to facilitate and coordinate the claims

reconciliation and bar date notice functions, including the mailing of the Bar Date Notice

Packages. To the extent that Kroll requires any assistance with the preparation and mailing of the

Bar Date Notice Package, Kroll is authorized to employ and pay necessary service providers,

subject to prior approval from the Debtors, and to obtain reimbursement from the Debtors for any

such payments on the same terms applicable to its direct services. Kroll is further authorized to

take such other actions as may be necessary to ensure timely preparation and mailing of the Bar

Date Notice Package.

               19.     Publication Notice.    The Debtors shall cause the Publication Notice,

substantially in the form attached to the Application as Exhibit C, to be published in the The New

York Times and USA Today as soon as practicable after entry of this Order but in any event no later

than twenty-eight (28) days prior to the earliest of the Bar Dates, which publication is hereby

approved and shall be deemed good, adequate and sufficient publication notice of the Bar Dates.

               20.     Reservation of Rights. The Debtors and any party in interest retain and




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hereby reserve the right to (i) dispute, and/or assert offsets or defenses against, any Prepetition

Claim or 503(b)(9) Claim and (ii) object to any Prepetition Claim, whether scheduled or filed, and

any 503(b)(9) Claim, on any grounds.

               21.    The Debtors are authorized and empowered to take such steps and perform

such actions as may be necessary to implement and effectuate the terms of this Order, including

without limitation payment of costs incurred in connection with the process of noticing the Bar

Dates.

               22.    The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               23.    This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Application or the implementation, interpretation

or enforcement of this Order.

 Dated: April 4, 2023                                /s/ Sean H. Lane
        White Plains, New York                       The Honorable Sean H. Lane
                                                     United States Bankruptcy Judge




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                                   EXHIBIT A

                                   Claim Forms
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                                                    New York

 Fill in this information to identify the case (Select only one Debtor per claim form):

   
    Genesis Global Holdco, LLC (Case No. 23-10063)

        Genesis Global Capital, LLC (Case No. 23-10064)

        Genesis Asia Pacific PTE. LTD. (Case No. 23-10065)



 Modified Official Form 410
 Proof of Claim                                                                                                                                                    04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
 request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed (January 19, 2023). That date is on the notice of bankruptcy (Form
 309) that you received.


 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor

2. Has this claim been          No
   acquired from
   someone else?                Yes. From whom?

3. Where should notices         Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   and payments to the                                                                                          different)
   creditor be sent?
   Federal Rule of
   Bankruptcy Procedure        Name                                                                         Name
   (FRBP) 2002(g)
                               Number           Street                                                      Number              Street


                               City                               State                    ZIP Code         City                             State                ZIP Code




                                Contact phone                                                                   Contact phone

                                Contact email                                                                   Contact email

4. Does this claim amend        No
   one already filed?           Yes. Claim number on court claims registry (if known)                                                   Filed on
                                                                                                                                                     MM   / DD   / YYYY



5. Do you know if anyone        No
   else has filed a proof       Yes. Who made the earlier filing?
   of claim for this claim?




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Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?

7. How much is the claim? (If your claim is based on cryptocurrency holdings, please provide the number of units associated with your
   claim. Do not provide a value for your cryptocurrency holding claim in United States Dollars. Only provide a United States Dollar value
   for your claim if your claim is based in United States Dollars.)


   A.     To the extent you assert a claim that is denominated in US Dollars, list the value of the claim in US Dollars as of the date the case
   was filed (January 19, 2023): $                              . Does this amount include interest or other charges?
                                                                    No
                                                                    Yes. Attach statement itemizing interest, fees, expenses, or other charges required
                                                                    by Bankruptcy Rule 3001(c)(2)(A).
     B. With regard to coins loaned to the Debtors, list the number of each type of coin loaned to the Debtors as of the date the case
     was filed (January, 19, 2023).

                 Coin List                                 Count                                  Coin List                                  Count

0x (ZRX)                                                                        Livepeer (LPT)

1inch Network (1INCH)                                                           Loopring (LRC)

Aave (AAVE)                                                                     Maker (MKR)

Alchemix (ALCX)                                                                 Moonbeam (GLMR)

Algorand (ALGO)                                                                 Multi Collateral Dai (DAI)

Amp (AMP)                                                                       Near (NEAR)

Ankr (ANKR)                                                                     Neo (NEO)

ApeCoin (APE)                                                                   Orchid (OXT)

Axie Infinity (AXS)                                                             PAX Gold (PAXG)

Balancer (BAL)                                                                  Polkadot (DOT)

Bancor (BNT)                                                                    Polygon (MATIC)

Basic Attention Token (BAT)                                                     Rally (RLY)

Binance Coin (BNB)                                                              Ren (REN)

Bitcoin (BTC)                                                                   Ribbon Finance (RBN)

Bitcoin Cash (BCH)                                                              Serum (SRM)

Bitcoin SV (BSV)                                                                Shiba Inu (SHIB)

Cardano (ADA)                                                                   SKALE (SKL)

Chainlink (LINK)                                                                Solana (SOL)

Chiliz (CHZ)                                                                    Stellar (XLM)

Compound (COMP)                                                                 Storj (STORJ)

Cosmos (ATOM)                                                                   SushiSwap (SUSHI)

Curve DAO Token (CRV)                                                           Synthetix (SNX)

Decentraland (MANA)                                                             Terra Classic (LUNC)

DogeCoin (DOGE)                                                                 TerraClassicUSD (USTC)

EOS (EOS)                                                                       Tether (USDT)



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               Coin List
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Ethereum (ETH)                                                                   Tezos (XTZ)

Ethereum Classic (ETC)                                                           The Graph (GRT)

EthereumPoW (ETHW)                                                               The Sandbox (SAND)

Fantom (FTM)                                                                     Tokemak (TOKE)

Fetch.ai (FET)                                                                   Tron (TRX)

Filecoin (FIL)                                                                   UMA (UMA)

Flow (FLOW)                                                                      Uniswap (UNI)

Gemini Dollar (GUSD)                                                             USD (USD)

Helium (HNT)                                                                     USD Coin (USDC)

Horizen (ZEN)                                                                    Wrapped Bitcoin (WBTC)

Injective (INJ)                                                                  Wrapped Luna (WLUNA)

Kusama (KSM)                                                                     XRP (XRP)

Kyber Network Crystal v2 (KNC)                                                   Yearn.Finance (YFI)

Litecoin (LTC)                                                                   Zcash (ZEC)

BIT (BitDAO)                                                                    Other (Provide Currency Type & Count)


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).

                                 Limit disclosing information that is entitled to privacy, such as health care information.




                                 Are you a current or former Gemini Trust Company, LLC user?             No  Yes
                                 If yes, is your claim related to any loans you made through the Gemini Earn Program?              No  Yes

9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:


                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                             $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                                (The sum of the secured and unsecured
                                                                                                                   amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)               %
                                            Fixed
                                            Variable

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10. Is this claim based on a       No
    lease?
                                   Yes. Amount necessary to cure any default as of the date of the petition.                        $


11. Is this claim subject to a     No
    right of setoff?
                                   Yes. Identify the property. (If the property is cryptocurrency, identify each type of cryptocurrency, the respective
                                     number of units of each type of cryptocurrency, and whether the property was posted by you or the Debtor):




12. Is all or part of the claim    No
    entitled to priority under
    11 U.S.C. § 507(a)?               Yes. Check one:                                                                                            Amount entitled to priority

   A claim may be partly              Domestic support obligations (including alimony and child support) under
                                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                 $
   priority and partly
   nonpriority. For example,
   in some categories, the            Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                 personal, family, or household use. 11 U.S.C. § 507(a)(7).                                             $
   entitled to priority.
                                      Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                         bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                      $
                                         11 U.S.C. § 507(a)(4).
                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                    $

                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                        $

                                      Other. Specify subsection of 11 U.S.C. § 507(a)(               ) that applies.                           $

                                     * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.


13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received                         $
    pursuant to                      by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?           which the goods have been sold to the Debtor in the ordinary course of such
                                     Debtor’s business. Attach documentation supporting such claim.




   Official Form 410                                                      Proof of Claim                                                                                 page 4
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Part 3:    Sign Below

The person completing          Check the appropriate box:
this proof of claim must
sign and date it.                 I am the creditor.
FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP              I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes courts
to establish local rules       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
specifying what a signature    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
is.                            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                               and correct.
A person who files a
fraudulent claim could be      I declare under penalty of perjury that the foregoing is true and correct.
fined up to $500,000,          Executed on date
imprisoned for up to 5                              MM / DD     /   YYYY
years, or both.
18 U.S.C. §§ 152, 157, and
3571.


                                       Signature

                               Name of the person who is completing and signing this claim:

                               Name
                                                   First name                           Middle name                            Last name

                               Title

                               Company
                                                   Identify the corporate servicer as the company if the authorized agent is a servicer.



                               Address
                                                   Number            Street


                                                   City                                                         State          ZIP Code

                               Contact phone                                                                    Email




Official Form 410                                                     Proof of Claim                                                                page 5
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Modified Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                              12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                            For a minor child, fill in only the child’s initials and the
                                                                       full name and address of the child’s parent or
 Fill in all of the information about the claim as of the             guardian. For example, write A.B., a minor child (John
   date the case was filed.                                            Doe, parent, 123 Main St., City, State). See Bankruptcy
                                                                       Rule 9037.
 Fill in the caption at the top of the form.                       Confirmation that the claim has been filed

 If the claim has been acquired from someone else,                 To receive confirmation that the claim has been filed, enclose a
   then state the identity of the last party who owned the          stamped self-addressed envelope and a copy of this form. You
   claim or was the holder of the claim and who transferred         may view a list of filed claims in this case by visiting the Claims
   it to you before the initial claim was filed.                    and Noticing Agent's website at
                                                                    https://restructuring.ra.kroll.com/genesis.
 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the
                                                                    Understand the terms used in this form
   debt exists, a lien secures the debt, or both. (See the
   definition of redaction on the next page.)                       Administrative expense: Generally, an expense that arises
                                                                    after a bankruptcy case is filed in connection with operating,
   Also attach redacted copies of any documents that show
                                                                    liquidating, or distributing the bankruptcy estate. 11 U.S.C. §
   perfection of any security interest or any assignments or
                                                                    503.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy                 Claim: A creditor’s right to receive payment for a debt that
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).            the debtor owed on the date the debtor filed for bankruptcy.
                                                                    11 U.S.C. §101 (5). A claim may be secured or unsecured.
 Do not attach original documents because
   attachments may be destroyed after scanning.                     Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising from
                                                                    the value of any goods received by the Debtor within 20 days
 If the claim is based on delivering health care goods
                                                                    before the date of commencement of the above case, in which
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                    the goods have been sold to the Debtor in the ordinary course
   information both in the claim and in the attached                of the Debtor's business. Attach documentation supporting
   documents.                                                       such claim.

 A Proof of Claim form and any attached documents                  Creditor: A person, corporation, or other entity to whom a
   must show only the last 4 digits of any social                   debtor owes a debt that was incurred on or before the date the
   security number, individual’s tax identification                 debtor filed for bankruptcy. 11 U.S.C. §101 (10).
   number, or financial account number, and only the
   year of any person’s date of birth. See Bankruptcy
   Rule 9037.
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Debtor: A person, corporation, or other entity who is in             Setoff: Occurs when a creditor pays itself with money
bankruptcy. Use the debtor’s name and case number as shown           belonging to the debtor that it is holding, or by canceling a
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         debt it owes to the debtor.


Evidence of perfection: Evidence of perfection of a security         Unsecured claim: A claim that does not meet the
interest may include documents showing that a security               requirements of a secured claim. A claim may be unsecured in
interest has been filed or recorded, such as a mortgage, lien,       part to the extent that the amount of the claim is more than the
certificate of title, or financing statement.                        value of the property on which a creditor has a lien.


Information that is entitled to privacy: A Proof of Claim            Offers to purchase a claim
form and any attached documents must show only the last 4            Certain entities purchase claims for an amount that is less than
digits of any social security number, an individual’s tax            the face value of the claims. These entities may contact
identification number, or a financial account number, only the       creditors offering to purchase their claims. Some written
initials of a minor’s name, and only the year of any person’s        communications from these entities may easily be confused
date of birth. If a claim is based on delivering health care         with official court documentation or communications from the
goods or services, limit the disclosure of the goods or services     debtor. These entities do not represent the bankruptcy court,
to avoid embarrassment or disclosure of confidential health          the bankruptcy trustee, or the debtor. A creditor has no
care information. You may later be required to give more             obligation to sell its claim. However, if a creditor decides to
information if the trustee or someone else in interest objects to    sell its claim, any transfer of that claim is subject to
the claim.                                                           Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
                                                                     Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
Priority claim: A claim within a category of unsecured claims        the bankruptcy court that apply.
that is entitled to priority under 11 U.S.C. §507(a). These          Please send completed Proof(s) of Claim to:
claims are paid from the available money or property in a
bankruptcy case before other unsecured claims are paid.              If by first class mail:
Common priority unsecured claims include alimony, child
support, taxes, and certain unpaid wages.                            Genesis Global Holdco, LLC Claims Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                     Grand Central Station, PO Box 4850
Proof of claim: A form that shows the amount of debt the             New York, NY 10163-4850
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is             If by overnight courier or hand delivery:
pending.
                                                                     Genesis Global Holdco, LLC Claims Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
Redaction of information: Masking, editing out, or deleting
                                                                     850 Third Avenue, Suite 412
certain information to protect privacy. Filers must redact or
                                                                     Brooklyn, NY 11232
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.
                                                                     You may also file your claim electronically at
                                                                     https://restructuring.ra.kroll.com/genesis via the link
Secured claim under 11 U.S.C. §506(a): A claim backed by a           entitled “Submit a Claim.”
lien on particular property of the debtor. A claim is secured to
the extent that a creditor has the right to be paid from the
property before other creditors are paid. The amount of a
secured claim usually cannot be more than the value of the
particular property on which the creditor has a lien. Any           Do not file these instructions with your form
amount owed to a creditor that is more than the value of the
property normally may be an unsecured claim. But exceptions
exist; for example, see 11 U.S.C. § 1322(b) and the final
sentence of 1325(a).
Examples of liens on property include a mortgage on real
estate or a security interest in a car. A lien may be voluntarily
granted by a debtor or may be obtained through a court
proceeding. In some states, a court judgment may be a lien.
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                                   EXHIBIT B

                                  Bar Date Notice
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al.,1                        Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered



             NOTICE OF DEADLINES FOR SUBMITTING PROOFS OF CLAIM
             ((GENERAL CLAIMS BAR DATE: MAY 22, 2023 AT 4:00 PM (ET)))


TO ALL PERSONS AND ENTITIES WITH PREPETITION CLAIMS AGAINST ANY OF
THE DEBTOR ENTITIES LISTED BELOW IN THE ABOVE-CAPTIONED CHAPTER 11
CASES:

     PLEASE TAKE NOTICE THAT ANY ENTITY THAT FILES A PROOF OF
CLAIM IN THESE CHAPTER 11 CASES SHALL BE DEEMED, FOR THE PURPOSES
OF THE PROOF OF CLAIM AND POSSIBLY RELATED MATTERS, TO HAVE
SUBMITTED TO THE JURISDICTION OF THE UNITED STATES BANKRUPTCY
COURT FOR THE SOUTHERN DISTRICT OF NEW YORK. ANY ENTITY WHO IS
REQUIRED TO TIMELY FILE A PROOF OF CLAIM AS SET FORTH IN THIS
NOTICE BUT FAILS TO DO SO WILL BE (A) FOREVER BARRED, ESTOPPED AND
ENJOINED FROM ASSERTING SUCH PREPETITION CLAIM AGAINST ANY OF
THE DEBTORS AND (B) FOREVER BARRED FROM VOTING TO ACCEPT OR
REJECT ANY PLAN OR PLANS OR PARTICIPATING IN ANY DISTRIBUTION IN
THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH PREPETITION
CLAIMS.



         On                     , 2023, the United States Bankruptcy Court for the Southern
District of New York entered an order (ECF No.          ) (the “Bar Date Order”) in the above-
captioned jointly-administered chapter 11 Cases of Genesis Global Holdco, LLC and certain of
its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), establishing May
22, 2023 at 4:00 p.m., Eastern Time (the “General Bar Date”) as the last date for each person or




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
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entity2 (including individuals, partnerships, corporations, joint ventures and trusts) to submit a
Proof of Claim against any of the Debtors listed below:

                                                                      Last Four Digits
                                                                                                    Date of
                                                                     of Each Debtor’s
                                                                                                Commencement
                     Debtor                     Case Number          Tax Identification
                                                                                                 of Chapter 11
                                                                        Number (as
                                                                                                     Case
                                                                        applicable)
    Genesis Global Holdco, LLC                     23-10063                 8219                January 19, 2023
    Genesis Global Capital, LLC                    23-10064                 8564                January 19, 2023
    Genesis Asia Pacific Pte. Ltd.                 23-10065                2164R                January 19, 2023

        The General Bar Date, the other deadlines established by the Bar Date Order and the
procedures set forth below for submitting Proofs of Claim (as defined below) apply to all claims
against the Debtors that arose prior to January 19, 2023, the date on which each Debtor
commenced a case (as applicable to each Debtor, the “Petition Date”) under the Bankruptcy
Code, including parties asserting 503(b)(9) Claims (defined below), except for those holders of
claims listed in Section 4 below that are specifically excluded from the General Bar Date
submission requirements established by the Bar Date Order. Governmental units3 have until
July 18, 2023 at 4:00 p.m., Eastern Time (the date that is the first business day following 180
days after the Petition Date) (the “Governmental Bar Date”) to submit Proofs of Claim.

          1.         WHO MUST SUBMITA PROOF OF CLAIM

        You MUST submit a Claim Form (defined below) and any required supporting
documentation indicated thereon (together, a “Proof of Claim”) to vote on a chapter 11 plan filed
by the Debtors or to share in distributions from the Debtors’ bankruptcy estates if you have a
claim that arose prior to the Petition Date (any such claim, a “Prepetition Claim”), and it is not
one of the types of claim described in Section 3 below. Prepetition Claims based on acts or
omissions of the Debtors that occurred before the Petition Date must be submitted on or prior to
the General Bar Date (or, if applicable, one of the other deadlines described below), even if such
claims are not fixed, liquidated or certain as of the applicable deadline or did not mature or
become fixed, liquidated or certain before the Petition Date.

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (collectively, the “Bar Dates”):

               (a)     General Bar Date: Pursuant to the Bar Date Order and except as
                       otherwise described in this Notice, all entities that hold a claim against
                       any of the Debtors that arose prior to the Petition Date (whether secured,
                       unsecured priority, or unsecured nonpriority) shall file a Proof of Claim

2
         As used herein, the term “person” has the meaning given to it in section 101(41) of title 11 of the United
States Code (the “Bankruptcy Code”), and the term “entity” has the meaning given to it in section 101(15) of the
Bankruptcy Code.
3
        As used herein, the term “governmental unit” has the meaning given to it in section 101(27) of the
Bankruptcy Code.



                                                          2
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                   as described in this Notice by May 22, 2023 at 4:00 p.m., Eastern Time.
                   For the avoidance of doubt and without limitation, the General Bar Date
                   applies to claims asserted against the Debtors pursuant to section
                   503(b)(9) of the Bankruptcy Code (a “503(b)(9) Claim”).

            (b)    Rejection Bar Date: Pursuant to the Bar Date Order, any person or
                   entity that has a Prepetition Claim against any of the Debtors arising out
                   of the rejection of executory contracts and unexpired leases pursuant to
                   section 365 of the Bankruptcy Code that becomes effective after the entry
                   of the Bar Date Order must submit a Proof of Claim on or before the later
                   of (i) the General Bar Date, and (ii) any date the Court may fix in the
                   applicable order authorizing such rejection (the “Rejection Bar Date”).

            (c)    Amended Schedule Bar Date: Pursuant to the Bar Date Order, if any
                   of the Debtors amends or supplements its Schedules, the Debtors shall
                   give notice of such amendment to the holders of any Prepetition Claims
                   affected thereby and such holders must submit a Proof of Claim or amend
                   any previously filed Proof of Claim in respect of such amended
                   scheduled Prepetition Claim or added claim as the later of (a) General
                   Bar Date and (b) thirty-five (35) days after the date that notice of the
                   amendment is served on the affected claimant, which date shall be set
                   forth in such notice of amendment (the “Amended Schedule Bar Date”).

            (d)    Governmental Bar Date: Pursuant to the Bar Date Order, all
                   governmental units, as defined in section 101(27) of the Bankruptcy
                   Code, must file Proofs of Claim against the Debtors on account of claims
                   that arose prior to the Petition Date by July 18, 2023 at 4:00 p.m.,
                   Eastern Time (the “Governmental Bar Date”).

        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.

       2.         WHAT TO FILE

        Your filed Proof of Claim must conform substantially to Official Form No. 410; a case-
specific Proof of Claim form accompanies this Notice. The Debtors are enclosing a Proof of
Claim form for use in these cases (the “Claim Form”); if your claim is scheduled by the Debtors,
the form also sets forth the amount of your claim as scheduled by the Debtors, the specific
Debtor against which the claim is scheduled and whether the claim is scheduled as disputed,
contingent or unliquidated. You will receive a different Claim Form for each claim scheduled
in your name by the Debtors. You may utilize the Claim Form(s) provided by the Debtors to file



                                                  3
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your claim. Additional Claim Forms may be obtained at the following websites:
www.uscourts.gov/forms/bankruptcy-forms or https:/restructuring.ra.kroll.com/genesis.

         Each Claim Form must (i) be written in English; (ii) set forth (A) for any Prepetition
Claim based on cryptocurrency, the number and type of units of each cryptocurrency held by the
claimant as of the Petition Date or (B) solely to the extent a Prepetition Claim is not based on
cryptocurrency, the amount of such Prepetition Claim denominated in United States dollars;4
(iii) conform substantially with the Claim Forms provided by the Debtors or Official Form No.
410, as applicable; (iv) be signed by the claimant or by an authorized agent or legal
representative of the claimant; and (v) include supporting documentation unless otherwise
consented to by the Debtors in writing (e-mail will suffice).

        In addition to the requirements set forth in the immediately preceding paragraph, any
Proof of Claim asserting a 503(b)(9) Claim must also include, with specificity: (i) the amount of
the 503(b)(9) Claim; (ii) the particular Debtor against which the 503(b)(9) Claim is asserted; (iii)
the date of delivery of the goods purportedly delivered to a Debtor within twenty days before the
Petition Date; (iv) documentation, including invoices, receipts, bills of lading and the like,
identifying with specificity the particular goods for which the 503(b)(9) Claim is being asserted;
(v) an identification of which goods (if any) were subject to a demand for reclamation asserted
under section 546(c) of the Bankruptcy Code; and (vi) documentation or other evidence that the
goods with respect to which the 503(b)(9) Claim is being filed were sold in the ordinary course
of the Debtor’s business.

        Your Claim Form must not contain complete social security numbers or taxpayer
identification numbers (only the last four digits), a complete birth date (only the year), the
name of a minor (only the minor’s initials) or a financial account number (only the last four
digits of such financial account).

         All entities asserting claims against more than one Debtor are required to (i) file a
separate Proof of Claim with respect to each such Debtor and (ii) identify on each Proof of Claim
the particular Debtor against which their claim is asserted. Any claim that fails to identify a
Debtor shall be deemed as filed only against Genesis Global Capital, LLC (“GGC”). If more
than one Debtor is listed on the form, the Proof of Claim will be treated as filed only against the
first-listed Debtor. A list of the names of the Debtors and their case numbers is set forth on page
2 of this Notice.




4
          For the avoidance of doubt, all Claim Forms for Prepetition Claims based on cryptocurrency must clearly
indicate (i) each type of cryptocurrency held and (ii) the number of units of each cryptocurrency held (which may be
done through the table of cryptocurrency on the Claim Form).



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       3.         WHEN AND WHERE TO FILE

       Except as provided for herein, all Proofs of Claim must be submitted so as to be actually
received on or before the applicable Bar Date:

IF ELECTRONICALLY:

       By using the website established by the Debtors’ claims and noticing agent, Kroll
       Restructuring Administration (“Kroll”) for these Chapter 11 Cases (the “Case
       Website”) located at https://restructuring.ra.kroll.com/genesis by following
       instructions for filing Proofs of Claim electronically.

IF BY U.S. MAIL, OVERNIGHT MAIL, OR DELIVERY BY HAND, OR COURIER:

       Genesis Inc. Claims Processing Center
       c/o Prime Clerk LLC (now known as Kroll Restructuring Administration)
       850 3rd Avenue, Suite 412
       Brooklyn, NY 11232

PROOFS OF CLAIM MUST BE SUBMITTED BY MAIL, BY HAND, OR THROUGH
THE CASE WEBSITE. PROOFS OF CLAIM SUBMITTED BY ELECTRONIC MEANS
OTHER THAN THE CASE WEBSITE (E.G., VIA E-MAIL, FACSIMILE, TELECOPY,
OR SIMILAR ELECTRONIC MEANS) WILL NOT BE ACCEPTED AND WILL NOT
BE DEEMED TIMELY SUBMITTED. CLAIMS FOR WHICH PROOFS OF CLAIM
NEED NOT BE FILED.

       You do not need to file a Proof of Claim on behalf of a claim on or prior to the applicable
Bar Date if the claim falls into one of the following categories:

            (a)    any Prepetition Claim for which a Proof of Claim has already been filed
                   against one or more of the Debtors and for which no other basis or
                   additional amounts are sought or Prepetition Claims are asserted beyond
                   those listed in the already filed Proof of Claim;

            (b)    any Prepetition Claim listed in the Debtors’ Schedules (as defined
                   herein), and is not designated as “disputed,” “contingent,” and/or
                   “unliquidated,” and with respect to which the Entity asserting such
                   Prepetition Claim agrees with the nature, classification, and amount
                   that such Prepetition Claim is identified in the Schedules, and with
                   respect to which the Entity asserting such Prepetition Claim agrees that
                   its Prepetition Claim is an obligation only of the specific Debtor who has
                   listed the Prepetition Claim in its Schedules;

            (c)    any Prepetition Claim or 503(b)(9) Claim (including any Prepetition
                   Claim listed in the Debtors’ Schedules as set forth in paragraph (b)
                   above) that has been previously allowed by, or paid in full pursuant to,
                   an order of this Court;



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             (d)    any Prepetition Claim by a Debtor against one or more of the other
                    Debtors;

             (e)    any Prepetition Claim for which specific filing deadlines have been
                    previously fixed by this Court;

             (f)    any current or former equity security holder5 that seeks to assert only a
                    proof of interest with respect of the ownership of such equity interests;6

             (g)    any current employees of the Debtors, if an order of the Court authorized
                    the Debtors to honor such Prepetition Claim in the ordinary course of
                    business as a wage, commission, or benefit; any current or former
                    employee must submit a Proof of Claim by the General Bar Date for all
                    other Prepetition Claims arising before the Petition Date, including
                    Prepetition Claims for wrongful termination, discrimination, harassment,
                    hostile work environment and retaliation;

             (h)    Gemini Trust Company, LLC (“Gemini”) users (each a “Gemini
                    Lender”) holding a Prepetition Claim in connection with certain loans of
                    digital assets at Gemini to GGC (the “Gemini Borrowings”) in exchange
                    for the return of such digital assets upon request or at the expiration of a
                    specified period and the payment by GGC of a loan fee pursuant to the
                    relevant master loan agreements (“Gemini MLA”) between GGC,
                    Gemini and the Gemini Lender; provided, however, that any Gemini
                    Lender wanting to assert a Prepetition Claim for an amount greater than
                    the Gemini Lender’s Gemini Borrowings in the Gemini Earn Program or
                    Prepetition Claims other than for the repayment of the Gemini
                    Borrowings under the Gemini Earn Program, shall be required to submit
                    a Proof of Claim with respect to such Prepetition Claim on or before the
                    applicable Bar Date, unless another exception to the applicable Bar Date
                    applies;

             (i)    any member of the Ad Hoc Group (as defined herein) holding a
                    Prepetition Claim in connection with loans of digital assets to the
                    Debtors pursuant to a master loan agreement or loan term sheet between
                    the Debtor and such member of the Ad Hoc Group; provided, however,
                    that any member of the Ad Hoc Group wanting to assert a claim, other
                    than the amount set forth in the schedule of amounts asserted by each
                    member set forth on the single Proof of Claim filed by the Ad Hoc Group
                    pursuant to the applicable underlying agreement and loan term sheet,
                    shall be required to submit a Proof of Claim with respect to such


5
        The term “equity security holder,” as used herein, has the meaning ascribed to it in section 101(17) of the
Bankruptcy Code.
6
        Any equity security holder claiming damages or asserting causes of action based upon or arising from stock
ownership would be required to file a proof of claim by the General Bar Date.



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                 additional claim on or before the General Bar Date, unless another
                 exception to the applicable Bar Date applies;

           (j)   claims for fees and expenses of professional retained in these
                 proceedings;

           (k)   any claim based on indemnification, contribution or reimbursement of a
                 current officer, director or employee of any of the Debtors;

           (l)   any person or Entity holding a Prepetition Claim solely against a non-
                 Debtor entity; and

           (m) any Prepetition Claim allowable under sections 503(b) and 507(a)(2) of
               the Bankruptcy Code as an expense incurred in the ordinary course;
               provided that any person or entity asserting a Prepetition Claim entitled
               to administrative expense status under section 503(b)(9) of the
               Bankruptcy Code must assert such Prepetition Claims by filing a request
               for payment or a Proof of Claim on or prior to the General Bar Date.

        This Notice is being sent to many persons and entities that have had some relationship
with or have done business with the Debtors but may not have an unpaid claim against the
Debtors. The fact that you have received this Notice does not mean that you have a claim or that
the Debtors or the Court believe that you have a claim against the Debtors.

        Gemini Lenders: The Bar Date Order authorized and directed Gemini, given Gemini’s
appointment as agent for each Gemini Lender under the Gemini MLAs, to file a single Proof of
Claim against the Debtors on behalf of each and all Gemini Lenders on account of all Prepetition
Claims for the repayment of the Gemini Borrowings on or before the General Bar Date (the
“Gemini Master Claim”). Should a Gemini Lender wish to assert a Prepetition Claim against the
Debtors for an amount greater than the Gemini Lender’s Gemini Borrowings in the Gemini Earn
Program or Prepetition Claims other than for the repayment of the Gemini Borrowings under the
Gemini Earn Program, the Gemini Lender must file a Proof of Claim with respect to such
Prepetition Claim on or before the applicable Bar Date, unless another exception to the
applicable Bar Date applies.

        Ad Hoc Group: The Bar Date Order authorized and directed the ad hoc group of
creditors of Genesis Global Capital, LLC represented by Proskauer Rose LLP (the “Ad Hoc
Group”) to file a single Proof of Claim pursuant to section 501(a) of the Bankruptcy Code,
together with a schedule of amounts asserted by each such member (with copies of any master
loan agreements or loan term sheets to be made available to the Debtors upon request) on or
before the General Bar Date, on account of the Prepetition Claims against the Debtors held by
each and all members of the Ad Hoc Group; provided, however, that any member of the Ad Hoc
Group that wants to assert a Prepetition Claim against the Debtors, other than the amount listed
on the schedule of amounts owing pursuant to the underlying agreement and loan term sheets
shall be required to submit a Proof of Claim with respect to such additional claim on or before
the General Bar Date, unless another exception to the applicable Bar Date applies.




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     4.  CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
BAR DATE

     ANY HOLDER OF CLAIM THAT IS NOT LISTED IN THIS NOTICE AS A
PREPETITION CLAIM EXCEPTED FROM THE REQUIREMENTS OF THE BAR DATE
ORDER AND THAT FAILS TO TIMELY SUBMIT A PROOF OF CLAIM WILL BE
FOREVER BARRED, ESTOPPED AND ENJOINED FROM (A) ASSERTING SUCH
PREPETITION CLAIM AGAINST ANY OF THE DEBTORS AND (B) VOTING TO
ACCEPT OR REJECT ANY CHAPTER 11 PLAN OR PLANS OR (C) PARTICIPATING IN
ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH
PREPETITION CLAIM.

       5.      THE DEBTORS’ SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against one or more of the Debtors in the
Debtors’ Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and
Unexpired Leases (collectively, the “Schedules”).

         To determine if and how you are listed on the Schedules, please refer to the descriptions
set forth on the enclosed Claim Form(s) regarding the nature, amount, and status of your claim(s).
If you received postpetition payments from the Debtors (as authorized by the Court) on account
of your claim, the enclosed Claim Form will reflect the net amount of your claims. If the Debtors
believe that you hold claims against one or more than one Debtor, you will receive multiple
Claim Forms, each of which will reflect the nature and amount of your claim against one Debtor,
as listed in the Schedules.

         If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules. You may rely on the enclosed Claim Form, however, which
lists your claim as scheduled, identifies the Debtor against which it is scheduled, and specifies
whether the claim is disputed, contingent or unliquidated. Similarly, if you are a Gemini Lender
and you rely on your individual account page that may be accessed through the Gemini Earn
Program’s website (https://exchange.gemini.com/signin) and the Gemini mobile app, it is your
responsibility to determine that the claim is accurately listed in such website and mobile app as
that is the amount that will be listed for your Prepetition Claim in the Gemini Master Claim.

        As set forth above, if you agree with the nature, amount and classification of your
Prepetition Claim as listed in the Debtors’ Schedules, and if you do not dispute that your
Prepetition Claim is only against the Debtor specified in the Schedules, and if your Prepetition
Claim is not described as “disputed,” “contingent” or “unliquidated,” you need not submit a
Proof of Claim. Otherwise, or if you decide to submit a Proof of Claim, you must do so before
the applicable Bar Date in accordance with the procedures set forth in this Notice.

        Copies of the Debtors’ Schedules are available for inspection on the Court’s website at
http://www.nysb.uscourts.gov. A login and password to the Court’s Public Access to Electronic
Court Records (“PACER”) are required to access this information and can be obtained through
the PACER Service Center at http://www.pacer.gov. Copies of the Debtors’ Schedules are also
available at the Case Website at https://restructuring.ra.kroll.com/genesis. Copies of the


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Debtors’ Schedules may also be obtained by written request to the Debtors’ Claim Agent at the
following address: Genesis Inc. Claims Processing Center, c/o Prime Clerk LLC (now known as
Kroll Restructuring Administration), 850 3rd Avenue, Suite 412, Brooklyn, NY 11232.

        The Debtors reserve the right to (a) dispute, or to assert offsets or defenses against, any
filed claim or any claim listed or reflected in the Schedules as to nature, amount, liability,
priority, classification, or otherwise; (b) subsequently designate any scheduled claim as
disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.
Nothing contained in this Notice shall preclude the Debtors from objecting to any claim, whether
scheduled or filed, on any grounds.

       A holder of a possible claim against the Debtors should consult an attorney regarding
any matters not covered by this notice, such as whether the holder should submit a Proof of
Claim.

                                                                  BY ORDER OF THE COURT

    Dated:     March [[X]], 2023               DRAFT
               New York, New York              Sean A. O’Neal
                                               Jane VanLare
                                               CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                               One Liberty Plaza
                                               New York, New York 10006
                                               Telephone: (212) 225-2000
                                               Facsimile: (212) 225-3999


                                               Counsel to the Debtors and Debtors-in-Possession




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                                   EXHIBIT C

                                 Publication Notice
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al.,1                        Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered



             NOTICE OF DEADLINES FOR SUBMITTING PROOFS OF CLAIM
             ((GENERAL CLAIMS BAR DATE: MAY 22, 2023 AT 4:00 PM (ET)))

     PLEASE TAKE NOTICE THAT ANY ENTITY THAT FILES A PROOF OF
CLAIM IN THESE CHAPTER 11 CASES SHALL BE DEEMED, FOR THE PURPOSES
OF THE PROOF OF CLAIM AND POSSIBLY RELATED MATTERS, TO HAVE
SUBMITTED TO THE JURISDICTION OF THE UNITED STATES BANKRUPTCY
COURT FOR THE SOUTHERN DISTRICT OF NEW YORK. ANY ENTITY WHO IS
REQUIRED TO TIMELY FILE A PROOF OF CLAIM AS SET FORTH IN THIS
NOTICE BUT FAILS TO DO SO WILL BE (A) FOREVER BARRED, ESTOPPED AND
ENJOINED FROM ASSERTING SUCH PREPETITION CLAIM AGAINST ANY OF
THE DEBTORS AND (B) FOREVER BARRED FROM VOTING TO ACCEPT OR
REJECT ANY PLAN OR PLANS OR PARTICIPATING IN ANY DISTRIBUTION IN
THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH PREPETITION
CLAIMS.

         On                     , 2023, the United States Bankruptcy Court for the Southern
District of New York entered an Order (ECF No.          ) (the “Bar Date Order”) in the above-
captioned jointly-administered Chapter 11 Cases of Genesis Global Holdco, LLC and certain of
its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), establishing May
22, 2023 at 4:00 p.m., Eastern Time (the “General Bar Date”) as the general deadline for each
entity (including individuals, partnerships, corporations, joint ventures, trusts and governmental
units) to submit a Proof of Claim (defined below) against any of the Debtors.

       The General Bar Date, the other deadlines established by the Bar Date Order and the
procedures set forth below for filing proofs of claim apply to all claims against the Debtors that
arose prior to the date, as indicated in the above table, on which each Debtor commenced cases
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), except for
claims described in paragraph 5 of the Bar Date Order as being excluded. Governmental units


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
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have until July 18, 2023 at 4:00 p.m., Eastern Time to file proofs of claims (the “Governmental
Bar Date”).

       1.         WHO MUST FILE A PROOF OF CLAIM

        You MUST submit a Claim Form (defined below) and any required supporting
documentation indicated thereon (together, a “Proof of Claim”) to vote on a chapter 11 plan filed
by the Debtors or to share in distributions from the Debtors’ bankruptcy estates if you have a
claim that arose prior to January 19, 2023 (as applicable to each Debtor, the “Petition Date” and
any such claim, a “Prepetition Claim”), and it is not one of the types of claim described in
paragraph 5 of the Bar Date Order. Prepetition Claims based on acts or omissions of the Debtors
that occurred before the Petition Date must be filed on or prior to the General Bar Date (or, if
applicable, one of the other deadlines described below), even if such claims are not fixed,
liquidated or certain as of the applicable deadline or did not mature or become fixed, liquidated
or certain before the Petition Date.

      The Bar Date Order establishes the following bar dates for filing proofs of claim in these
Chapter 11 Cases (collectively, the “Bar Dates”):

            (a)    General Bar Date: Pursuant to the Bar Date Order and except as
                   otherwise described in this Notice, all entities that hold a claim against
                   any of the Debtors that arose prior to the Petition Date (whether secured,
                   unsecured priority, or unsecured nonpriority) shall file a proof of claim
                   as described in this Notice by May 22, 2023 at 4:00 p.m., Eastern Time.
                   For the avoidance of doubt and without limitation, the General Bar Date
                   applies to claims asserted against the Debtors pursuant to section
                   503(b)(9) of the Bankruptcy Code (a “503(b)(9) Claim”).

            (b)    Rejection Bar Date: Pursuant to the Bar Date Order, any person or
                   entity that has a Prepetition Claim against any of the Debtors arising out
                   of the rejection of executory contracts and unexpired leases pursuant to
                   section 365 of the Bankruptcy Code that becomes effective after the entry
                   of the Bar Date Order must submit a Proof of Claim on or before the later
                   of (i) the General Bar Date, and (ii) any date the Court may fix in the
                   applicable order authorizing such rejection (the “Rejection Bar Date”).

            (c)    Amended Schedule Bar Date: Pursuant to the Bar Date Order, if any
                   of the Debtors amends or supplements its Schedules, the Debtors shall
                   give notice of such amendment to the holders of any Prepetition Claims
                   affected thereby and such holders must submit a Proof of Claim or amend
                   any previously filed Proof of Claim in respect of such amended
                   scheduled Prepetition Claim or added claim as the later of (a) General
                   Bar Date and (b) thirty-five days after the date that notice of the
                   amendment is served on the affected claimant, which date shall be forth
                   in the notice of amendment (the “Amended Schedule Bar Date”).




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             (d)    Governmental Bar Date: Pursuant to the Bar Date Order, all
                    governmental units, as defined in section 101(27) of the Bankruptcy
                    Code, must file Proofs of Claim against the Debtors on account of claims
                    that arose prior to the Petition Date by July 18, 2023 at 4:00 p.m.,
                    Eastern Time (the “Governmental Bar Date”).

        2.         WHAT TO FILE

        Your filed proof of claim must conform substantially to Official Form No. 410; a case-
specific proof of claim form accompanies this Notice. The Debtors are enclosing a Proof of
Claim form for use in these cases (the “Claim Form”); if your claim is scheduled by the Debtors,
the form also sets forth the amount of your claim as scheduled by the Debtors, the specific
Debtor against which the claim is scheduled and whether the claim is scheduled as disputed,
contingent or unliquidated. You will receive a different Claim Form for each claim scheduled
in your name by the Debtors. You may utilize the Claim Form(s) provided by the Debtors to file
your claim. Additional Claim Forms may be obtained at the following websites:
www.uscourts.gov/forms/bankruptcy-forms or https:/restructuring.ra.kroll.com/genesis.

         Each Claim Form must (i) be written in English; (ii) set forth (A) for any Prepetition
Claim based on cryptocurrency, the number and type of units of each cryptocurrency held by the
claimant as of the Petition Date or (B) solely to the extent a Prepetition Claim is not based on
cryptocurrency, the amount of such Prepetition Claim denominated in United States dollars;2
(iii) conform substantially with the Claim Forms provided by the Debtors or Official Form No.
410, as applicable; (iv) be signed by the claimant or by an authorized agent or legal
representative of the claimant; and (v) include supporting documentation unless otherwise
consented to by the Debtors in writing (e-mail will suffice).

        In addition to the requirements set forth in the immediately preceding paragraph, any
Proof of Claim asserting a 503(b)(9) Claim must also include, with specificity: (i) the amount of
the 503(b)(9) Claim; (ii) the particular Debtor against which the 503(b)(9) Claim is asserted; (iii)
the date of delivery of the goods purportedly delivered to a Debtor within twenty days before the
Petition Date; (iv) documentation, including invoices, receipts, bills of lading and the like,
identifying with specificity the particular goods for which the 503(b)(9) Claim is being asserted;
(v) an identification of which goods (if any) were subject to a demand for reclamation asserted
under section 546(c) of the Bankruptcy Code; and (vi) documentation or other evidence that the
goods with respect to which the 503(b)(9) Claim is being filed were sold in the ordinary course
of the Debtor’s business.

        Your Claim Form must not contain complete social security numbers or taxpayer
identification numbers (only the last four digits), a complete birth date (only the year), the
name of a minor (only the minor’s initials) or a financial account number (only the last four
digits of such financial account).


2
         For the avoidance of doubt, all claims for cryptocurrency must clearly indicate (i) each type of
cryptocurrency held and (ii) the number of units of each cryptocurrency held (which may be done through the table
of cryptocurrency on the proposed Claim Form).



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        All entities asserting claims against more than one Debtor are required to (i) file a
separate proof of claim with respect to each such Debtor and (ii) identify on each proof of claim
the particular Debtor against which their claim is asserted. Any claim that fails to identify a
Debtor shall be deemed as filed only against Genesis Global Capital, LLC. If more than one
Debtor is listed on the form, the proof of claim will be treated as filed only against the first-listed
Debtor.

       3.      WHEN AND WHERE TO FILE

       Except as provided for herein, all Proofs of Claim must be submitted so as to be actually
received on or before the applicable Bar Date:

IF ELECTRONICALLY:

       By using the website established by the Debtors’ claims and noticing agent, Kroll
       Restructuring Administration (“Kroll”) for these Chapter 11 Cases (the “Case
       Website”) located at https://restructuring.ra.kroll/com/genesis by following
       instructions for filing proofs of claim electronically.

IF BY U.S. MAIL, OVERNIGHT MAIL, DELIVERY BY HAND OR COURIER:

       Genesis Inc. Claims Processing Center
       c/o Prime Clerk LLC (now known as Kroll Restructuring Administration)
       850 3rd Avenue, Suite 412
       Brooklyn, NY 11232

PROOFS OF CLAIM MUST BE SUBMITTED BY MAIL, BY HAND, OR THROUGH
THE CASE WEBSITE. PROOFS OF CLAIM SUBMITTED BY ELECTRONIC MEANS
OTHER THAN THE CASE WEBSITE (E.G., VIA E-MAIL, FACSIMILE, TELECOPY,
OR SIMILAR ELECTRONIC MEANS) WILL NOT BE ACCEPTED AND WILL NOT
BE DEEMED TIMELY SUBMITTED. CLAIMS FOR WHICH PROOFS OF CLAIM
NEED NOT BE FILED, INCLUDING GEMINI LENDER CLAIMS.

       The Bar Date Order further provides that certain persons or entities, whose claims
otherwise would be subject to the General Bar Date, need not file Proofs of Claim. To review a
copy of the Bar Date Order, please visit https://restructuring.ra.kroll.com/genesis.

         In particular Gemini Trust Company, LLC (“Gemini”) users (each a “Gemini Lender”)
holding a claim in connection with those certain loans of digital assets at Gemini to GGC (the
“Gemini Borrowings”) in exchange for the return of such digital assets upon request or at the
expiration of a specified period and the payment by GGC of a loan fee pursuant to the relevant
master loan agreements (“Gemini MLA”) between GGC, Gemini and the Gemini Lender need
not file Proofs of Claim. Should a Gemini Lender wish to assert a Prepetition Claim against the
Debtors for an amount greater than the Gemini Lender’s Gemini Borrowings in the Gemini Earn
Program or Prepetition Claims other than for the repayment of Gemini Borrowings under the
Gemini Earn Program, the Gemini Lender must file a proof of claim with respect to such




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Prepetition Claim on or before the applicable Bar Date, unless another exception to the
applicable Bar Date applies.

       The Bar Date Order authorized and directed Gemini, given Gemini’s appointment as
agent for each Gemini Lender under the Gemini MLAs, to file a single proof of claim on behalf
of each and all Gemini Lenders against the Debtors on account of all Prepetition Claims for the
repayment of Gemini Borrowings on or before the General Bar Date (the “Gemini Master
Claim”).

        The Bar Date Order authorized the ad hoc group of creditors of Genesis Global Capital,
LLC represented by Proskauer Rose LLP (the “Ad Hoc Group”) to file a single Proof of Claim
pursuant to section 501(a) of the Bankruptcy Code, together with a schedule of amounts asserted
by each such member (with copies of any master loan agreements or loan term sheets to be made
available to the Debtors upon request) on or before the General Bar Date, on account of the
Prepetition Claims against the Debtors held by members of the Ad Hoc Group; provided,
however, that any member of the Ad Hoc Group wanting to assert a claim, other than the amount
owing pursuant to the underlying agreement and loan term sheets, shall be required to submit a
Proof of Claim with respect to such additional claim on or before the General Bar Date, unless
another exception to the applicable Bar Date applies.

     4.  CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
BAR DATE

      ANY ENTITY WHO IS REQUIRED TO TIMELY FILE A PROOF OF CLAIM AS
SET FORTH IN THIS NOTICE BUT FAILS TO DO SO WILL BE (A) FOREVER BARRED,
ESTOPPED AND ENJOINED FROM ASSERTING SUCH CLAIM AGAINST ANY OF THE
DEBTORS AND (B) FOREVER BARRED FROM VOTING TO ACCEPT OR REJECT ANY
PLAN OR PLANS OR PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’
CHAPTER 11 CASES ON ACCOUNT OF SUCH CLAIMS.

       5.      THE DEBTORS’ SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against one or more of the Debtors in the
Debtors’ Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and
Unexpired Leases (collectively, the “Schedules”).

        Copies of the Debtors’ Schedules are available for inspection on the Court’s website at
http://www.nysb.uscourts.gov. A login and password to the Court’s Public Access to Electronic
Court Records (“PACER”) are required to access this information and can be obtained through
the PACER Service Center at http://www.pacer.gov. Copies of the Debtors’ Schedules are also
available at the Case Website at https://restructuring.ra.kroll.com/genesis. Copies of the
Debtors’ Schedules may also be obtained by written request to the Debtors’ Claim Agent at the
following address: Genesis Inc. Claims Processing Center, c/o Prime Clerk LLC (now known as
Kroll Restructuring Administration), 850 3rd Avenue, Suite 412, Brooklyn, NY 11232.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that your
Prepetition Claim is accurately listed in the Schedules in all respects. Similarly, if you are a


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Gemini Lender and you rely on your individual account page that may be accessed through the
Gemini Earn Program’s website (https://exchange.gemini.com/signin) and the Gemini mobile app,
it is your responsibility to determine that the claim is accurately listed in such website and mobile
app as that is the amount that will be listed for your Prepetition Claim in the Gemini Master Claim.

        As set forth above, if you agree with the nature, amount and status of your Prepetition
Claim as listed in the Debtors’ Schedules, and if you do not dispute that your Prepetition Claim is
only against the Debtor specified in the Schedules, and if your Prepetition Claim is not described
as “disputed,” “contingent” or “unliquidated,” you need not file a Proof of Claim. Otherwise, or
if you decide to file a Proof of Claim, you must do so before the applicable Bar Date in
accordance with the procedures set forth in this Notice.

        The Debtors reserve the right to (a) dispute, or to assert offsets or defenses against, any
filed claim or any claim listed or reflected in the Schedules as to nature, amount, liability,
priority, classification or otherwise; (b) subsequently designate any scheduled claim as disputed,
contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules. Nothing
contained in this Notice shall preclude the Debtors from objecting to any claim, whether
scheduled or filed, on any grounds.

       A holder of a possible claim against the Debtors should consult an attorney regarding
any matters not covered by this notice, such as whether the holder should file a Proof of
Claim.

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                                                        BY ORDER OF THE COURT


 Dated:    [[●]], 2023               DRAFT
           New York, New York        Sean A. O’Neal
                                     Jane VanLare
                                     CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                     One Liberty Plaza
                                     New York, New York 10006
                                     Telephone: (212) 225-2000
                                     Facsimile: (212) 225-3999


                                     Counsel to the Debtors and Debtors-in-Possession
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                                   EXHIBIT D

                            Notice of Amended Schedules
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al.,1                        Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered



       NOTICE TO CREDITORS AFFECTED BY THE FILING OF AMENDMENTS
      TO CERTAIN OF THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES

                 PLEASE TAKE NOTICE that on March [[•]], 2023, [[•]] (Case No. [[•]]),

[[DEBTOR NAME]], a debtor entity in the above-captioned jointly-administered Chapter 11

cases (the “Debtor”), filed, among other things, its Schedules of Assets and Liabilities (the

“Original Schedules”) in the United States Bankruptcy Court for the Southern District of New

York (the “Bankruptcy Court”) (ECF Nos. [[•]]), pursuant to section 521 of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 1007(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

                 PLEASE TAKE FURTHER NOTICE that the Debtor hereby files an amended

Schedule E/F (Creditors Holding Unsecured Claims) (the “Amended Schedules”), attached

hereto as Exhibit A, pursuant to Bankruptcy Rule 1009(a), Rule 1009-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern

District of New York (the “Local Rules”) and the Court’s Bar Date Order.2


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
2
        The “Bar Date Order” shall mean the Order (I) Establishing Bar Dates for Filing Proofs of Claims, (II)
Approving Proof of Claim Forms, Bar Date Notices, and Mailing and Publication Procedures, (III) Implementing
Uniform Procedures Regarding 503(b)(9) Claims, and (IV) Providing Certain Supplemental Relief (ECF No. [[•]]).
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               PLEASE TAKE FURTHER NOTICE that upon the amendment of the Original

Schedules by the Amended Schedules, the liabilities scheduled in the Amended Schedules shall

be deemed included in the Original Schedules as of the date hereof.

               PLEASE TAKE FURTHER NOTICE that the Debtor has amended only

Schedule E/F with respect to the claims added as Exhibit A attached hereto, and none of the

other Original Schedules, including with respect to claims previously identified on Original

Schedule E/F filed on March [[•]], 2023 have been amended. Moreover, the Amended Schedules

affect only the additional claims that appear on Exhibit A. You are receiving this Notice

because your claim appears on the Amended Schedules.

               PLEASE TAKE FURTHER NOTICE that creditors affected by the Amended

Schedules will have until [[●]], 2023 at 4:00 p.m., Eastern Time or thirty-five days from the

date hereof, whichever is later, to submit a Proof of Claim or amend a previously-filed Proof of

Claim in accordance with the Bar Date Order or will be forever barred from doing so.

               PLEASE TAKE FURTHER NOTICE that, notwithstanding the filing of the

Amended Schedules, the Debtor reserves the right to further amend or supplement, in its sole

discretion, the Original Schedules, consistent with the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules and the Bar Date order.




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               PLEASE TAKE FURTHER NOTICE that copies of the Amended Schedules

are also available at the Case Website at https://restructuring.ra.kroll.com/genesis. Copies of the

Amended Schedules are also available for inspection for a fee on the Court’s website at

http://www.nysb.uscourts.gov. A login and password to the Court’s Public Access to Electronic

Court Records (“PACER”) are required to access this information and can be obtained through

the PACER Service Center at http://www.pacer.gov.




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 Dated:    [[●]], 2023               DRAFT
           New York, New York        Sean A. O’Neal
                                     Jane VanLare
                                     CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                     One Liberty Plaza
                                     New York, New York 10006
                                     Telephone: (212) 225-2000
                                     Facsimile: (212) 225-3999


                                     Counsel to the Debtors and Debtors-in-Possession
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                                   EXHIBIT E

                              Gemini Bar Date Notice
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NOTICE REGARDING CLAIM TO BE ASSERTED BY GEMINI TRUST COMPANY, LLC, ACTING IN
    CAPACITY AS AGENT, ON YOUR BEHALF AGAINST GENESIS GLOBAL CAPITAL, LLC



                                                   [[●]], 2023



           Re:        In re Genesis Global Holdco, LLC, et al., Case No. 23-10063 (SHL)

Dear Gemini Earn User:

        On January 19, 2023 (the “Petition Date”), Genesis Global Capital, LLC (“GGC”) and
certain of its affiliates listed below (collectively, the “Debtors”) commenced cases under chapter
11 of the United States Bankruptcy Code (the “Chapter 11 Cases”) in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

                                                             Last Four Digits
                                                                                      Date of
                                                            of Each Debtor’s
                                                                                  Commencement
                  Debtor                  Case Number       Tax Identification
                                                                                   of Chapter 11
                                                               Number (as
                                                                                       Case
                                                               applicable)
 Genesis Global Holdco, LLC                  23-10063              8219           January 19, 2023
 Genesis Global Capital, LLC                 23-10064              8564           January 19, 2023
 Genesis Asia Pacific Pte. Ltd.              23-10065             2164R           January 19, 2023

        GGC engaged in borrowing activities with certain Gemini Trust Company, LLC
(“Gemini”) users that elected to provide loans to GGC (the “Gemini Earn Program”). Through
the Gemini Earn Program, a subset of Gemini’s users (each a “Gemini Lender”) agreed to lend
certain of their digital assets at Gemini to GGC (the “Gemini Borrowings”) in exchange for the
return of such digital assets upon request or at the expiration of a specified period and the
payment by GGC of a fixed loan fee. Under the terms of the relevant master loan agreements
(“Gemini MLA”) between GGC, Gemini, and each Gemini Lender, the Gemini Lenders
appointed Gemini to act as agent in connection with the Gemini Borrowings.

       On March __, 2023, the Bankruptcy Court entered an Order (ECF No.            ) (the “Bar
Date Order”) in the Chapter 11 Cases establishing the following bar dates for filing proofs of
claim in the Chapter 11 Cases:

            (a)     General Bar Date: Pursuant to the Bar Date Order and except as
                    otherwise described in this Notice, all entities that hold a claim against
                    any of the Debtors that arose prior to the Petition Date (whether secured,
                    unsecured priority, or unsecured nonpriority) shall file a proof of claim
                    as described in this Notice by May 22, 2023 at 4:00 p.m., Eastern Time.
                    For the avoidance of doubt and without limitation, the General Bar Date
                    applies to claims asserted against the Debtors pursuant to section
                    503(b)(9) of the Bankruptcy Code (a “503(b)(9) Claim”).
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           (b)   Rejection Bar Date: Pursuant to the Bar Date Order, any person or
                 entity that has a Prepetition Claim against any of the Debtors arising out
                 of the rejection of executory contracts and unexpired leases pursuant to
                 section 365 of the Bankruptcy Code that becomes effective after the entry
                 of the Bar Date Order must submit a Proof of Claim on or before the later
                 of (i) the General Bar Date, and (ii) any date the Court may fix in the
                 applicable order authorizing such rejection and (the “Rejection Bar
                 Date”).

           (c)   Amended Schedule Bar Date: Pursuant to the Bar Date Order, if any
                 of the Debtors amends or supplements its Schedules, the Debtors shall
                 give notice of such amendment to the holders of any Prepetition Claims
                 affected thereby and such holders must submit a Proof of Claim or amend
                 any previously filed Proof of Claim in respect of such amended
                 scheduled Prepetition Claim or added claim as the later of (a) General
                 Bar Date and (b) thirty-five (35) days after the date that notice of the
                 amendment is served on the affected claimant, which date shall be set
                 forth in such notice of amendment (the “Amended Schedule Bar Date”).

           (d)   Governmental Bar Date: Pursuant to the Bar Date Order, all
                 governmental units, as defined in section 101(27) of the Bankruptcy
                 Code, must file Proofs of Claim against the Debtors on account of claims
                 that arose prior to the Petition Date by July 18, 2023 at 4:00 p.m.,
                 Eastern Time (the “Governmental Bar Date”).

         The Bar Date Order authorized and directed Gemini, to file a single proof of claim on
behalf of each and all Gemini Lenders on account of all claims against the Debtors that arose
prior to the Petition Date in connection with the Gemini Borrowings on or before the General
Bar Date (the “Gemini Master Claim”). Gemini will file the Gemini Master Claim on or before
the General Bar Date against GGC and/or any other Debtor that Gemini determines may have
liability to the Gemini Lenders arising from the Gemini Borrowings.


  If you are a Gemini Lender, you do not have to file claim against GGC or any other Debtor
 in connection with your Gemini Borrowings in the Gemini Earn Program to preserve your
 right to receive a possible distribution in the Chapter 11 Cases. To the extent that you have a
 claim against GGC or any other Debtor that arose prior to January 19, 2023 for amounts
 greater than your Gemini Borrowings in the Gemini Earn Program or claims other than for
 the repayment of Gemini Borrowings under the Gemini Earn Program, you must file a
 separate proof of claim on or before the General Bar Date. If you rely on your individual
 account page that may be accessed through the Gemini Earn Program’s website
 (https://exchange.gemini.com/signin) and the Gemini mobile app, it is your responsibility to
 determine that the claim is accurately listed in such website and mobile app as that is the
 amount that will be listed for your Prepetition Claim in the Gemini Master Claim.




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        Any claim against GGC or any other Debtor that arose prior to the Petition Date for
amounts greater than your Gemini Borrowings in the Gemini Earn Program or claims other than
for the repayment of Gemini Borrowings under the Gemini Earn Program will not be included in
the Gemini Master Claim. To the extent you must file a separate Proof of Claim on account of a
claim(s) against GGC or any other Debtor that arose prior to January 19, 2023 for amounts
greater than your Gemini Borrowings in the Gemini Earn Program or claims other than for the
repayment of Gemini Borrowings under the Gemini Earn Program, you must follow all
instructions and requirements on the Bar Date Notice annexed hereto as Exhibit A and available
on the Debtors’ case website (https://restructuring.ra.kroll.com/genesis).

        Please contact the Debtors’ claims and noticing agent, Kroll Restructuring Administration
at (888) 524-2017 or (646) 440-4183 if you have any questions about the Gemini Master Claim or
the process for submitting any claims against the Debtors for amounts greater than your Gemini
Borrowings in the Gemini Earn Program or claims other than for the repayment of Gemini
Borrowings under the Gemini Earn Program.


                                             Sincerely,


                                             Gemini Trust Company, LLC,
                                             Acting in capacity as Agent on behalf of Earn users




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                         Exhibit A to Gemini Bar Date Notice
                             (General Bar Date Notice)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                      Chapter 11

    Genesis Global Holdco, LLC, et al.,1                        Case No.: 23-10063 (SHL)

                                     Debtors.                   Jointly Administered



             NOTICE OF DEADLINES FOR SUBMITTING PROOFS OF CLAIM
             ((GENERAL CLAIMS BAR DATE: MAY 22, 2023 AT 4:00 PM (ET)))


TO ALL PERSONS AND ENTITIES WITH PREPETITION CLAIMS AGAINST ANY OF
THE DEBTOR ENTITIES LISTED BELOW IN THE ABOVE-CAPTIONED CHAPTER 11
CASES:

     PLEASE TAKE NOTICE THAT ANY ENTITY THAT FILES A PROOF OF
CLAIM IN THESE CHAPTER 11 CASES SHALL BE DEEMED, FOR THE PURPOSES
OF THE PROOF OF CLAIM AND POSSIBLY RELATED MATTERS, TO HAVE
SUBMITTED TO THE JURISDICTION OF THE UNITED STATES BANKRUPTCY
COURT FOR THE SOUTHERN DISTRICT OF NEW YORK. ANY ENTITY WHO IS
REQUIRED TO TIMELY FILE A PROOF OF CLAIM AS SET FORTH IN THIS
NOTICE BUT FAILS TO DO SO WILL BE (A) FOREVER BARRED, ESTOPPED AND
ENJOINED FROM ASSERTING SUCH PREPETITION CLAIM AGAINST ANY OF
THE DEBTORS AND (B) FOREVER BARRED FROM VOTING TO ACCEPT OR
REJECT ANY PLAN OR PLANS OR PARTICIPATING IN ANY DISTRIBUTION IN
THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH PREPETITION
CLAIMS.



         On                     , 2023, the United States Bankruptcy Court for the Southern
District of New York entered an order (ECF No.          ) (the “Bar Date Order”) in the above-
captioned jointly-administered chapter 11 Cases of Genesis Global Holdco, LLC and certain of
its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), establishing May
22, 2023 at 4:00 p.m., Eastern Time (the “General Bar Date”) as the last date for each person or




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
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entity2 (including individuals, partnerships, corporations, joint ventures and trusts) to submit a
Proof of Claim against any of the Debtors listed below:

                                                                      Last Four Digits
                                                                                                    Date of
                                                                     of Each Debtor’s
                                                                                                Commencement
                     Debtor                     Case Number          Tax Identification
                                                                                                 of Chapter 11
                                                                        Number (as
                                                                                                     Case
                                                                        applicable)
    Genesis Global Holdco, LLC                     23-10063                 8219                January 19, 2023
    Genesis Global Capital, LLC                    23-10064                 8564                January 19, 2023
    Genesis Asia Pacific Pte. Ltd.                 23-10065                2164R                January 19, 2023

        The General Bar Date, the other deadlines established by the Bar Date Order and the
procedures set forth below for submitting Proofs of Claim (as defined below) apply to all claims
against the Debtors that arose prior to January 19, 2023, the date on which each Debtor
commenced a case (as applicable to each Debtor, the “Petition Date”) under the Bankruptcy
Code, including parties asserting 503(b)(9) Claims (defined below), except for those holders of
claims listed in Section 4 below that are specifically excluded from the General Bar Date
submission requirements established by the Bar Date Order. Governmental units3 have until
July 18, 2023 at 4:00 p.m., Eastern Time (the date that is the first business day following 180
days after the Petition Date) (the “Governmental Bar Date”) to submit Proofs of Claim.

          6.         WHO MUST SUBMITA PROOF OF CLAIM

        You MUST submit a Claim Form (defined below) and any required supporting
documentation indicated thereon (together, a “Proof of Claim”) to vote on a chapter 11 plan filed
by the Debtors or to share in distributions from the Debtors’ bankruptcy estates if you have a
claim that arose prior to the Petition Date (any such claim, a “Prepetition Claim”), and it is not
one of the types of claim described in Section 3 below. Prepetition Claims based on acts or
omissions of the Debtors that occurred before the Petition Date must be submitted on or prior to
the General Bar Date (or, if applicable, one of the other deadlines described below), even if such
claims are not fixed, liquidated or certain as of the applicable deadline or did not mature or
become fixed, liquidated or certain before the Petition Date.

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (collectively, the “Bar Dates”):

               (e)     General Bar Date: Pursuant to the Bar Date Order and except as
                       otherwise described in this Notice, all entities that hold a claim against
                       any of the Debtors that arose prior to the Petition Date (whether secured,
                       unsecured priority, or unsecured nonpriority) shall file a Proof of Claim

2
         As used herein, the term “person” has the meaning given to it in section 101(41) of title 11 of the United
States Code (the “Bankruptcy Code”), and the term “entity” has the meaning given to it in section 101(15) of the
Bankruptcy Code.
3
        As used herein, the term “governmental unit” has the meaning given to it in section 101(27) of the
Bankruptcy Code.



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                   as described in this Notice by May 22, 2023 at 4:00 p.m., Eastern Time.
                   For the avoidance of doubt and without limitation, the General Bar Date
                   applies to claims asserted against the Debtors pursuant to section
                   503(b)(9) of the Bankruptcy Code (a “503(b)(9) Claim”).

            (f)    Rejection Bar Date: Pursuant to the Bar Date Order, any person or
                   entity that has a Prepetition Claim against any of the Debtors arising out
                   of the rejection of executory contracts and unexpired leases pursuant to
                   section 365 of the Bankruptcy Code that becomes effective after the entry
                   of the Bar Date Order must submit a Proof of Claim on or before the later
                   of (i) the General Bar Date, and (ii) any date the Court may fix in the
                   applicable order authorizing such rejection (the “Rejection Bar Date”).

            (g)    Amended Schedule Bar Date: Pursuant to the Bar Date Order, if any
                   of the Debtors amends or supplements its Schedules, the Debtors shall
                   give notice of such amendment to the holders of any Prepetition Claims
                   affected thereby and such holders must submit a Proof of Claim or amend
                   any previously filed Proof of Claim in respect of such amended
                   scheduled Prepetition Claim or added claim as the later of (a) General
                   Bar Date and (b) thirty-five (35) days after the date that notice of the
                   amendment is served on the affected claimant, which date shall be set
                   forth in such notice of amendment (the “Amended Schedule Bar Date”).

            (h)    Governmental Bar Date: Pursuant to the Bar Date Order, all
                   governmental units, as defined in section 101(27) of the Bankruptcy
                   Code, must file Proofs of Claim against the Debtors on account of claims
                   that arose prior to the Petition Date by July 18, 2023 at 4:00 p.m.,
                   Eastern Time (the “Governmental Bar Date”).

        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.

       7.         WHAT TO FILE

        Your filed Proof of Claim must conform substantially to Official Form No. 410; a case-
specific Proof of Claim form accompanies this Notice. The Debtors are enclosing a Proof of
Claim form for use in these cases (the “Claim Form”); if your claim is scheduled by the Debtors,
the form also sets forth the amount of your claim as scheduled by the Debtors, the specific
Debtor against which the claim is scheduled and whether the claim is scheduled as disputed,
contingent or unliquidated. You will receive a different Claim Form for each claim scheduled
in your name by the Debtors. You may utilize the Claim Form(s) provided by the Debtors to file



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your claim. Additional Claim Forms may be obtained at the following websites:
www.uscourts.gov/forms/bankruptcy-forms or https:/restructuring.ra.kroll.com/genesis.

         Each Claim Form must (i) be written in English; (ii) set forth (A) for any Prepetition
Claim based on cryptocurrency, the number and type of units of each cryptocurrency held by the
claimant as of the Petition Date or (B) solely to the extent a Prepetition Claim is not based on
cryptocurrency, the amount of such Prepetition Claim denominated in United States dollars;4
(iii) conform substantially with the Claim Forms provided by the Debtors or Official Form No.
410, as applicable; (iv) be signed by the claimant or by an authorized agent or legal
representative of the claimant; and (v) include supporting documentation unless otherwise
consented to by the Debtors in writing (e-mail will suffice).

        In addition to the requirements set forth in the immediately preceding paragraph, any
Proof of Claim asserting a 503(b)(9) Claim must also include, with specificity: (i) the amount of
the 503(b)(9) Claim; (ii) the particular Debtor against which the 503(b)(9) Claim is asserted; (iii)
the date of delivery of the goods purportedly delivered to a Debtor within twenty days before the
Petition Date; (iv) documentation, including invoices, receipts, bills of lading and the like,
identifying with specificity the particular goods for which the 503(b)(9) Claim is being asserted;
(v) an identification of which goods (if any) were subject to a demand for reclamation asserted
under section 546(c) of the Bankruptcy Code; and (vi) documentation or other evidence that the
goods with respect to which the 503(b)(9) Claim is being filed were sold in the ordinary course
of the Debtor’s business.

        Your Claim Form must not contain complete social security numbers or taxpayer
identification numbers (only the last four digits), a complete birth date (only the year), the
name of a minor (only the minor’s initials) or a financial account number (only the last four
digits of such financial account).

         All entities asserting claims against more than one Debtor are required to (i) file a
separate Proof of Claim with respect to each such Debtor and (ii) identify on each Proof of Claim
the particular Debtor against which their claim is asserted. Any claim that fails to identify a
Debtor shall be deemed as filed only against Genesis Global Capital, LLC (“GGC”). If more
than one Debtor is listed on the form, the Proof of Claim will be treated as filed only against the
first-listed Debtor. A list of the names of the Debtors and their case numbers is set forth on page
2 of this Notice.

        8.       WHEN AND WHERE TO FILE




4
          For the avoidance of doubt, all Claim Forms for Prepetition Claims based on cryptocurrency must clearly
indicate (i) each type of cryptocurrency held and (ii) the number of units of each cryptocurrency held (which may be
done through the table of cryptocurrency on the Claim Form).



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       Except as provided for herein, all Proofs of Claim must be submitted so as to be actually
received on or before the applicable Bar Date:

IF ELECTRONICALLY:

       By using the website established by the Debtors’ claims and noticing agent, Kroll
       Restructuring Administration (“Kroll”) for these Chapter 11 Cases (the “Case
       Website”) located at https://restructuring.ra.kroll.com/genesis by following
       instructions for filing Proofs of Claim electronically.

IF BY U.S. MAIL, OVERNIGHT MAIL, OR DELIVERY BY HAND, OR COURIER:

       Genesis Inc. Claims Processing Center
       c/o Prime Clerk LLC (now known as Kroll Restructuring Administration)
       850 3rd Avenue, Suite 412
       Brooklyn, NY 11232

PROOFS OF CLAIM MUST BE SUBMITTED BY MAIL, BY HAND, OR THROUGH
THE CASE WEBSITE. PROOFS OF CLAIM SUBMITTED BY ELECTRONIC MEANS
OTHER THAN THE CASE WEBSITE (E.G., VIA E-MAIL, FACSIMILE, TELECOPY,
OR SIMILAR ELECTRONIC MEANS) WILL NOT BE ACCEPTED AND WILL NOT
BE DEEMED TIMELY SUBMITTED. CLAIMS FOR WHICH PROOFS OF CLAIM
NEED NOT BE FILED.

       You do not need to file a Proof of Claim on behalf of a claim on or prior to the applicable
Bar Date if the claim falls into one of the following categories:

            (i)   any Prepetition Claim for which a Proof of Claim has already been filed
                  against one or more of the Debtors and for which no other basis or
                  additional amounts are sought or Prepetition Claims are asserted beyond
                  those listed in the already filed Proof of Claim;

            (j)   any Prepetition Claim listed in the Debtors’ Schedules (as defined
                  herein), and is not designated as “disputed,” “contingent,” and/or
                  “unliquidated,” and with respect to which the Entity asserting such
                  Prepetition Claim agrees with the nature, classification, and amount
                  that such Prepetition Claim is identified in the Schedules, and with
                  respect to which the Entity asserting such Prepetition Claim agrees that
                  its Prepetition Claim is an obligation only of the specific Debtor who has
                  listed the Prepetition Claim in its Schedules;

            (k)   any Prepetition Claim or 503(b)(9) Claim (including any Prepetition
                  Claim listed in the Debtors’ Schedules as set forth in paragraph (b)
                  above) that has been previously allowed by, or paid in full pursuant to,
                  an order of this Court;

            (l)   any Prepetition Claim by a Debtor against one or more of the other
                  Debtors;


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             (m) any Prepetition Claim for which specific filing deadlines have been
                 previously fixed by this Court;

             (n)    any current or former equity security holder5 that seeks to assert only a
                    proof of interest with respect of the ownership of such equity interests;6

             (o)    any current employees of the Debtors, if an order of the Court authorized
                    the Debtors to honor such Prepetition Claim in the ordinary course of
                    business as a wage, commission, or benefit; any current or former
                    employee must submit a Proof of Claim by the General Bar Date for all
                    other Prepetition Claims arising before the Petition Date, including
                    Prepetition Claims for wrongful termination, discrimination, harassment,
                    hostile work environment and retaliation;

             (p)    Gemini Trust Company, LLC (“Gemini”) users (each a “Gemini
                    Lender”) holding a Prepetition Claim in connection with certain loans of
                    digital assets at Gemini to GGC (the “Gemini Borrowings”) in exchange
                    for the return of such digital assets upon request or at the expiration of a
                    specified period and the payment by GGC of a loan fee pursuant to the
                    relevant master loan agreements (“Gemini MLA”) between GGC,
                    Gemini and the Gemini Lender; provided, however, that any Gemini
                    Lender wanting to assert a Prepetition Claim for an amount greater than
                    the Gemini Lender’s Gemini Borrowings in the Gemini Earn Program or
                    Prepetition Claims other than for the repayment of the Gemini
                    Borrowings under the Gemini Earn Program, shall be required to submit
                    a Proof of Claim with respect to such Prepetition Claim on or before the
                    applicable Bar Date, unless another exception to the applicable Bar Date
                    applies;

             (q)    any member of the Ad Hoc Group (as defined herein) holding a
                    Prepetition Claim in connection with loans of digital assets to the
                    Debtors pursuant to a master loan agreement or loan term sheet between
                    the Debtor and such member of the Ad Hoc Group; provided, however,
                    that any member of the Ad Hoc Group wanting to assert a claim, other
                    than the amount set forth in the schedule of amounts asserted by each
                    member set forth on the single Proof of Claim filed by the Ad Hoc Group
                    pursuant to the applicable underlying agreement and loan term sheet,
                    shall be required to submit a Proof of Claim with respect to such
                    additional claim on or before the General Bar Date, unless another
                    exception to the applicable Bar Date applies;



5
        The term “equity security holder,” as used herein, has the meaning ascribed to it in section 101(17) of the
Bankruptcy Code.
6
        Any equity security holder claiming damages or asserting causes of action based upon or arising from stock
ownership would be required to file a proof of claim by the General Bar Date.



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           (r)   claims for fees and expenses of professional retained in these
                 proceedings;

           (s)   any claim based on indemnification, contribution or reimbursement of a
                 current officer, director or employee of any of the Debtors;

           (t)   any person or Entity holding a Prepetition Claim solely against a non-
                 Debtor entity; and

           (u)   any Prepetition Claim allowable under sections 503(b) and 507(a)(2) of
                 the Bankruptcy Code as an expense incurred in the ordinary course;
                 provided that any person or entity asserting a Prepetition Claim entitled
                 to administrative expense status under section 503(b)(9) of the
                 Bankruptcy Code must assert such Prepetition Claims by filing a request
                 for payment or a Proof of Claim on or prior to the General Bar Date.

        This Notice is being sent to many persons and entities that have had some relationship
with or have done business with the Debtors but may not have an unpaid claim against the
Debtors. The fact that you have received this Notice does not mean that you have a claim or that
the Debtors or the Court believe that you have a claim against the Debtors.

        Gemini Lenders: The Bar Date Order authorized and directed Gemini, given Gemini’s
appointment as agent for each Gemini Lender under the Gemini MLAs, to file a single Proof of
Claim against the Debtors on behalf of each and all Gemini Lenders on account of all Prepetition
Claims for the repayment of the Gemini Borrowings on or before the General Bar Date (the
“Gemini Master Claim”). Should a Gemini Lender wish to assert a Prepetition Claim against the
Debtors for an amount greater than the Gemini Lender’s Gemini Borrowings in the Gemini Earn
Program or Prepetition Claims other than for the repayment of the Gemini Borrowings under the
Gemini Earn Program, the Gemini Lender must file a Proof of Claim with respect to such
Prepetition Claim on or before the applicable Bar Date, unless another exception to the
applicable Bar Date applies.

        Ad Hoc Group: The Bar Date Order authorized and directed the ad hoc group of
creditors of Genesis Global Capital, LLC represented by Proskauer Rose LLP (the “Ad Hoc
Group”) to file a single Proof of Claim pursuant to section 501(a) of the Bankruptcy Code,
together with a schedule of amounts asserted by each such member (with copies of any master
loan agreements or loan term sheets to be made available to the Debtors upon request) on or
before the General Bar Date, on account of the Prepetition Claims against the Debtors held by
each and all members of the Ad Hoc Group; provided, however, that any member of the Ad Hoc
Group that wants to assert a Prepetition Claim against the Debtors, other than the amount listed
on the schedule of amounts owing pursuant to the underlying agreement and loan term sheets
shall be required to submit a Proof of Claim with respect to such additional claim on or before
the General Bar Date, unless another exception to the applicable Bar Date applies.




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     9.  CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
BAR DATE

     ANY HOLDER OF CLAIM THAT IS NOT LISTED IN THIS NOTICE AS A
PREPETITION CLAIM EXCEPTED FROM THE REQUIREMENTS OF THE BAR DATE
ORDER AND THAT FAILS TO TIMELY SUBMIT A PROOF OF CLAIM WILL BE
FOREVER BARRED, ESTOPPED AND ENJOINED FROM (A) ASSERTING SUCH
PREPETITION CLAIM AGAINST ANY OF THE DEBTORS AND (B) VOTING TO
ACCEPT OR REJECT ANY CHAPTER 11 PLAN OR PLANS OR (C) PARTICIPATING IN
ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH
PREPETITION CLAIM.

       10.     THE DEBTORS’ SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against one or more of the Debtors in the
Debtors’ Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and
Unexpired Leases (collectively, the “Schedules”).

         To determine if and how you are listed on the Schedules, please refer to the descriptions
set forth on the enclosed Claim Form(s) regarding the nature, amount, and status of your claim(s).
If you received postpetition payments from the Debtors (as authorized by the Court) on account
of your claim, the enclosed Claim Form will reflect the net amount of your claims. If the Debtors
believe that you hold claims against one or more than one Debtor, you will receive multiple
Claim Forms, each of which will reflect the nature and amount of your claim against one Debtor,
as listed in the Schedules.

         If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules. You may rely on the enclosed Claim Form, however, which
lists your claim as scheduled, identifies the Debtor against which it is scheduled, and specifies
whether the claim is disputed, contingent or unliquidated. Similarly, if you are a Gemini Lender
and you rely on your individual account page that may be accessed through the Gemini Earn
Program’s website (https://exchange.gemini.com/signin) and the Gemini mobile app, it is your
responsibility to determine that the claim is accurately listed in such website and mobile app as
that is the amount that will be listed for your Prepetition Claim in the Gemini Master Claim.

        As set forth above, if you agree with the nature, amount and classification of your
Prepetition Claim as listed in the Debtors’ Schedules, and if you do not dispute that your
Prepetition Claim is only against the Debtor specified in the Schedules, and if your Prepetition
Claim is not described as “disputed,” “contingent” or “unliquidated,” you need not submit a
Proof of Claim. Otherwise, or if you decide to submit a Proof of Claim, you must do so before
the applicable Bar Date in accordance with the procedures set forth in this Notice.

        Copies of the Debtors’ Schedules are available for inspection on the Court’s website at
http://www.nysb.uscourts.gov. A login and password to the Court’s Public Access to Electronic
Court Records (“PACER”) are required to access this information and can be obtained through
the PACER Service Center at http://www.pacer.gov. Copies of the Debtors’ Schedules are also
available at the Case Website at https://restructuring.ra.kroll.com/genesis. Copies of the


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Debtors’ Schedules may also be obtained by written request to the Debtors’ Claim Agent at the
following address: Genesis Inc. Claims Processing Center, c/o Prime Clerk LLC (now known as
Kroll Restructuring Administration), 850 3rd Avenue, Suite 412, Brooklyn, NY 11232.

        The Debtors reserve the right to (a) dispute, or to assert offsets or defenses against, any
filed claim or any claim listed or reflected in the Schedules as to nature, amount, liability,
priority, classification, or otherwise; (b) subsequently designate any scheduled claim as
disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.
Nothing contained in this Notice shall preclude the Debtors from objecting to any claim, whether
scheduled or filed, on any grounds.

       A holder of a possible claim against the Debtors should consult an attorney regarding
any matters not covered by this notice, such as whether the holder should submit a Proof of
Claim.

                                                                  BY ORDER OF THE COURT

    Dated:     March [[X]], 2023               DRAFT
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                                               Counsel to the Debtors and Debtors-in-Possession




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